          Case 09-22502             Doc 532   Filed 03/22/13 Entered 03/22/13 10:16:54      Desc Main
                                              Document      Page 1 of 70




.2
tems Inc.
                                         UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF MASSACHUSETTS


        In re:                                         §
                                                       §
        THE SKI MARKET LTD., INC.                      §     Case No. 09-22502
                                                       §
                            Debtor(s)                  §

                        CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                        REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                        ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                JOSEPH BRAUNSTEIN, chapter 7 trustee, submits this Final Account, Certification
        that the Estate has been Fully Administered and Application to be Discharged.

                1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
        and, if applicable, any order of the Court modifying the Final Report. The case is fully
        administered and all assets and funds which have come under the trustee’s control in this case
        have been properly accounted for as provided by law. The trustee hereby requests to be
        discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
        discharged without payment, and expenses of administration is provided below:


        Assets Abandoned: 0.00                                Assets Exempt: 0.00
        (Without deducting any secured claims)

        Total Distributions to Claimants: 268,577.91          Claims Discharged
                                                              Without Payment: 9,683,798.53

        Total Expenses of Administration: 174,121.07




                3) Total gross receipts of $ 442,698.98 (see Exhibit 1), minus funds paid to the debtor
        and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 442,698.98 from the
        liquidation of the property of the estate, which was distributed as follows:




   UST Form 101-7-TDR (5/1/2011) (Page: 1)
            Case 09-22502             Doc 532    Filed 03/22/13 Entered 03/22/13 10:16:54             Desc Main
                                                 Document      Page 2 of 70




                                                 CLAIMS            CLAIMS                 CLAIMS                 CLAIMS
                                               SCHEDULED          ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                       $ NA                  $ NA                  $ NA                     $ NA

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                      NA             154,018.73             154,018.73            147,883.55

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                              NA             115,716.14              55,450.98                26,237.52

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                               NA                    NA                     NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                 NA          11,213,308.26           9,952,376.44            268,577.91

TOTAL DISBURSEMENTS                                    $ NA       $ 11,483,043.13        $ 10,161,846.15          $ 442,698.98


                 4) This case was originally filed under chapter 11 on 12/29/2009 , and it was converted
          to chapter 7 on 08/26/2010 . The case was pending for 31 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 03/18/2013                       By:/s/JOSEPH BRAUNSTEIN
                                                                       Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




     UST Form 101-7-TDR (5/1/2011) (Page: 2)
            Case 09-22502             Doc 532   Filed 03/22/13 Entered 03/22/13 10:16:54   Desc Main
                                                Document      Page 3 of 70




                                                      EXHIBITS TO
                                                    FINAL ACCOUNT


           EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                           UNIFORM                         $ AMOUNT
                                                               TRAN. CODE1                      RECEIVED

2003 Ford E250 Cargo Van                                         1129-000                                4,500.00

Non-Estate Receipts                                              1180-000                              300,000.00

 PREFERENCES - NY Electric & Gas                                 1241-000                                2,527.44

 PREFERENCES - Citadel Broadcasting Co.                          1241-000                                7,169.10

 PREFERENCES - Coalision USA, Inc.                               1241-000                               30,000.00

 PREFERENCES - Rome Snowboards Corp.                             1241-000                               25,000.00

PREFERENCES - Electric Visual Evolution, LLC                     1241-000                                6,344.42

 PREFERENCES - Bern Unlimited, LLC                               1241-000                                7,500.00

 PREFERENCES- Jamis Bicycles                                     1241-000                                6,667.00

 PREFERENCES - G. Joannou Cycle                                  1241-000                                3,333.00

 PREFERENCES -The North Face                                     1241-000                                5,000.00

 PREFERENCES - Vans, Inc.                                        1241-000                                4,500.00

 PREFERENCES - Mill Lane                                         1241-000                                5,000.00

 PREFERENCES- Sackett Norwalk                                    1241-000                               17,500.00




     UST Form 101-7-TDR (5/1/2011) (Page: 3)
               Case 09-22502             Doc 532        Filed 03/22/13 Entered 03/22/13 10:16:54                  Desc Main
                                                        Document      Page 4 of 70




                             DESCRIPTION                                   UNIFORM                                        $ AMOUNT
                                                                          TRAN. CODE1                                     RECEIVED

    PREFERENCES - WBZ -AM (CBS Radio)                                         1241-000                                          3,150.00

    PREFERENCES - Broadview Networks, Inc.                                    1241-000                                          4,491.20

    PREFERENCES - Sport Obermeyer, Ltd.                                       1241-000                                        10,000.00

    Post-Petition Interest Deposits                                           1270-000                                            16.82

TOTAL GROSS RECEIPTS                                                                                                        $ 442,698.98
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                           UNIFORM             $ AMOUNT
                                                                                                     TRAN. CODE              PAID

NA                                                                                                      NA                           NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                      $ 0.00
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM        CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.                CLAIMANT                  TRAN.      SCHEDULED                                                   CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE      (from Form 6D)

NA             NA                                   NA                    NA                   NA                   NA                NA

TOTAL SECURED CLAIMS                                                     $ NA                 $ NA                 $ NA              $ NA


              EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                             UNIFORM
                                                              CLAIMS             CLAIMS                 CLAIMS
                 PAYEE                        TRAN.                                                                       CLAIMS PAID
                                                            SCHEDULED           ASSERTED               ALLOWED
                                              CODE

JOSEPH BRAUNSTEIN, TRUSTEE                   2100-000                   NA               8,500.00             8,500.00          8,500.00




        UST Form 101-7-TDR (5/1/2011) (Page: 4)
              Case 09-22502             Doc 532        Filed 03/22/13 Entered 03/22/13 10:16:54   Desc Main
                                                       Document      Page 5 of 70




                                            UNIFORM
                                                            CLAIMS          CLAIMS            CLAIMS
                PAYEE                        TRAN.                                                            CLAIMS PAID
                                                          SCHEDULED        ASSERTED          ALLOWED
                                             CODE

JOSEPH BRAUNSTEIN, TRUSTEE                  2200-000                  NA         481.73           481.73             481.73


INTERNATIONAL SURETIES, LTD                 2300-000                  NA         118.11           118.11             118.81


INTERNATIONAL SURETIES,
LTD.                                        2300-000                  NA          62.08            62.08              62.08


BANK OF AMERICA                             2600-000                  NA         112.78           112.78             112.78


BANK OF AMERICA                             2600-000                  NA         108.65           108.65             108.65


BANK OF AMERICA                             2600-000                  NA         108.25           108.25             108.25


BANK OF AMERICA                             2600-000                  NA         115.01           115.01             115.01


BANK OF AMERICA                             2600-000                  NA         104.09           104.09             104.09


BANK OF AMERICA                             2600-000                  NA         107.56           107.56             107.56


BANK OF AMERICA                             2600-000                  NA         111.00           111.00             111.00


BANK OF AMERICA                             2600-000                  NA         110.86           110.86             110.86


BANK OF AMERICA                             2600-000                  NA         103.58           103.58             103.58


BANK OF AMERICA                             2600-000                  NA         114.16           114.16             114.16


BANK OF AMERICA                             2600-000                  NA         110.45           110.45             110.45


BANK OF AMERICA                             2600-000                  NA          33.95            33.95              33.95


BANK OF AMERICA                             2600-000                  NA              0.24             0.24            0.24


BANK OF AMERICA                             2600-000                  NA              0.11             0.11            0.11




       UST Form 101-7-TDR (5/1/2011) (Page: 5)
           Case 09-22502             Doc 532        Filed 03/22/13 Entered 03/22/13 10:16:54   Desc Main
                                                    Document      Page 6 of 70




                                         UNIFORM
                                                         CLAIMS          CLAIMS            CLAIMS
             PAYEE                        TRAN.                                                            CLAIMS PAID
                                                       SCHEDULED        ASSERTED          ALLOWED
                                          CODE

BANK OF AMERICA                          2600-000                  NA              0.12             0.12            0.12


BANK OF AMERICA                          2600-000                  NA              0.11             0.11            0.11


BANK OF AMERICA                          2600-000                  NA              0.11             0.11            0.11


BANK OF AMERICA                          2600-000                  NA              0.12             0.12            0.12


BANK OF AMERICA                          2600-000                  NA              0.12             0.12            0.12


BANK OF AMERICA                          2600-000                  NA              0.11             0.11            0.11


BANK OF AMERICA                          2600-000                  NA              0.12             0.12            0.12


BANK OF AMERICA                          2600-000                  NA              0.07             0.07            0.07


BANK OF AMERICA                          2600-000                  NA          10.00            10.00              10.00


BANK OF AMERICA                          2600-000                  NA          -10.00           -10.00            -10.00


BANK OF AMERICA                          2600-000                  NA         113.45           113.45             113.45


BANK OF AMERICA                          2600-000                  NA              6.45             6.45            6.45


BANK OF AMERICA                          2600-000                  NA              5.18             5.18            5.18


BANK OF AMERICA                          2600-000                  NA              5.35             5.35            5.35


BANK OF AMERICA                          2600-000                  NA              5.34             5.34            5.34


BANK OF AMERICA                          2600-000                  NA              4.99             4.99            4.99


BANK OF AMERICA                          2600-000                  NA              5.50             5.50            5.50




    UST Form 101-7-TDR (5/1/2011) (Page: 6)
            Case 09-22502             Doc 532        Filed 03/22/13 Entered 03/22/13 10:16:54     Desc Main
                                                     Document      Page 7 of 70




                                          UNIFORM
                                                          CLAIMS          CLAIMS           CLAIMS
              PAYEE                        TRAN.                                                           CLAIMS PAID
                                                        SCHEDULED        ASSERTED         ALLOWED
                                           CODE

CLERK OF THE U.S. BNCY
COURT                                     2690-000                  NA            26.00           26.00              26.00


TRAILER, GARVEY CAPE COD
STORATE                                   2690-000                  NA           807.52          807.52            807.52


COMMONWEALTH OF
MASSACHUSETTS                             2820-000                  NA           456.00          456.00            456.00


UNITED STATES BANKRUPTCY
COURT                                     2990-000                  NA            26.00           26.00               0.00


RIEMER & BRAUNSTEIN LLP                   3110-000                  NA        48,250.00       48,250.00         48,250.00


RIEMER & BRAUNSTEIN LLP                   3120-000                  NA         2,472.15         2,472.15          2,472.15


MIRICK, O'CONNELL, DEMALLIE
&                                         3210-000                  NA        51,466.60       51,466.60         46,060.72


MIRICK, O'CONNELL, DEMALLIE
&                                         3220-000                  NA         5,405.88         5,405.88          5,405.88


STEVEN A. GABOVITCH, CPA                  3410-000                  NA         1,425.00         1,425.00          1,425.00


PAUL E. SAPERSTEIN CO., INC.              3610-000                  NA         1,154.00         1,154.00           450.00


PAUL E. SAPERSTEIN CO., INC.              3620-000                  NA           704.00          704.00            704.00


BRAUNSTEIN, JOSEPH                        3991-000                  NA        29,000.00       29,000.00         29,000.00


BRAUNSTEIN, JOSEPH                        3992-000                  NA         2,275.83         2,275.83          2,275.83

TOTAL CHAPTER 7 ADMIN. FEES                                      $ NA      $ 154,018.73    $ 154,018.73       $ 147,883.55
AND CHARGES




     UST Form 101-7-TDR (5/1/2011) (Page: 7)
            Case 09-22502             Doc 532        Filed 03/22/13 Entered 03/22/13 10:16:54         Desc Main
                                                     Document      Page 8 of 70




            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                           CLAIMS            CLAIMS             CLAIMS
              PAYEE                        TRAN.                                                                CLAIMS PAID
                                                         SCHEDULED          ASSERTED           ALLOWED
                                           CODE

O'CONNOR GROUP                            6700-000                   NA            5,948.50         5,948.50          2,785.48


COOLEY LLP                                6710-000                   NA            6,589.54         6,589.54          3,085.66


MIRICK O'CONNELL DEMALLIE
LOUGEE LL                                 6710-000                   NA                0.00       38,126.97          17,853.56


MIRICK O'CONNELL DEMALLIE
LOUGEE LL                                 6710-000                   NA            3,013.97         3,013.97          1,411.34


MASSACHUSETTS
DEPARTMENT OF REVENUE                     6820-000                   NA          98,848.13           456.00            213.53


ADP, INC.                                 6950-000                   NA              511.00          511.00            511.00


STATE OF CONNECTICUT                      6950-000                   NA              805.00          805.00            376.95

TOTAL PRIOR CHAPTER ADMIN.                                        $ NA        $ 115,716.14       $ 55,450.98       $ 26,237.52
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                             CLAIMS            CLAIMS
                                               UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                           CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                CODE
                                                                6E)             Claim)

NA          NA                                   NA                   NA                  NA              NA               NA

TOTAL PRIORITY UNSECURED                                             $ NA               $ NA             $ NA            $ NA
CLAIMS




     UST Form 101-7-TDR (5/1/2011) (Page: 8)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54      Desc Main
                                                      Document      Page 9 of 70




             EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                  TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)           Claim)

              860-872
              COMMONWEALTH
0111          AVENUE TRUST                       7100-000             NA          44,894.32       44,894.32            0.00


              860-872
              COMMONWEALTH
0165          AVENUE TRUST                       7100-000             NA         379,490.34      394,489.02       20,977.45


              AAA FIRE EXTINGUISHER
0253          COMPANY                            7100-000             NA              113.93         113.93            6.06


              ABF FREIGHT SYSTEMS,
0136          INC.                               7100-000             NA            6,838.31       6,838.31          363.64


0341          ABRAHAMSEN, JILL                   7100-000             NA              435.00         435.00            0.00


0474          ABRUZZINI, CHERYL                  7100-000             NA              145.00         145.00            0.00


0186          ACKLEY, BRIAN                      7100-000             NA              350.00         350.00            0.00


              ADP SCREENING &
0540          SELECTION SERVICES                 7100-000             NA              391.87         391.87            0.00


              ALLARD, ESQ., STEPHEN
0016          J.                                 7100-000             NA          32,000.00       35,193.49        1,871.46


0048          ALLEN, DAVID                       7100-000             NA              100.00         100.00            0.00


0017          ALLEN, MARK                        7100-000             NA              290.00         290.00            0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 9)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 10 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0238          ALLEN, ROBERT                       7100-000             NA              145.00        145.00               0.00


0244          AMBROSINO, JULIE                    7100-000             NA              145.00        145.00               0.00


              AMERICA, I, MONTANA
0240          SPORT NORTH                         7100-000             NA            1,000.00       1,000.00             53.18


0347          ANDALIB, AZADEH                     7100-000             NA              314.02        314.02               0.00


0075          ANDERSON, CHRIS                     7100-000             NA              600.00        600.00               0.00


0361          ANTUPIT, JULIE                      7100-000             NA              145.00        145.00               0.00


0292          APUZZO, JEFFERY                     7100-000             NA              290.00        290.00               0.00


0070          ARAKELIAN, JEFF                     7100-000             NA              290.00             0.00            0.00


0399          ARTUN, BURCAK                       7100-000             NA              290.00        290.00               0.00


0415          AZAR, SANJAR                        7100-000             NA              450.00        450.00               0.00


0185          BADE, FAITH                         7100-000             NA              145.00        145.00               0.00


0401          BAIN, PAUL                          7100-000             NA              145.00        145.00               0.00


0548          BALDWIN, PAMELA                     7100-000             NA              344.00        344.00               0.00


0316          BARLOS, SYLVIE                      7100-000             NA              290.00        290.00               0.00


0434          BARTEL, DARCEY                      7100-000             NA              290.00        290.00               0.00


              BATTERSBY,
0121          CHRISTOPHER W.                      7100-000             NA              251.24        251.24               0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 10)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 11 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0180          BAUM, DAVID                         7100-000             NA              290.00         290.00              0.00


              BAY STATE GAS
0090          COMPANY                             7100-000             NA            1,511.22             0.00            0.00


              BAY STATE GAS
0143          COMPANY                             7100-000             NA              758.35         758.35             40.33


              BAY STATE GAS
0145          COMPANY                             7100-000             NA              120.67         120.67              0.00


0078          BEATTIE, JOHN                       7100-000             NA              106.15         106.15              0.00


0373          BELAMARICH, THOMAS                  7100-000             NA              150.00         150.00              0.00


0541          BELEZOS, BILL                       7100-000             NA              506.23         506.23              0.00


0068          BELMORE, KEVIN                      7100-000             NA              105.00         105.00              0.00


0255          BEMIS, CYNTHIA                      7100-000             NA              250.99         250.99              0.00


0104          BEMIS, CYNTHIA                      7100-000             NA              250.99         250.99              0.00


              BENTHAM,
0033          BRIGITTA/DAVID                      7100-000             NA              290.00         290.00              0.00


0218          BERS, JOSH                          7100-000             NA              462.20         462.20              0.00


0201          BICYCLES, JAMIS                     7100-000             NA          30,710.92       30,710.92          1,633.09


0497          BICYCLES, MARIN                     7100-000             NA         106,952.71      106,952.71          5,687.35


0321          BILGE, SIMA                         7100-000             NA              290.00         290.00              0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 11)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 12 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0293          BILOWZ, PETER                       7100-000             NA              145.00        145.00             0.00


0021          BILOWZ, PETER D.                    7100-000             NA              145.00        145.00             0.00


0375          BLANK, TIM                          7100-000             NA              150.00        150.00             0.00


0089          BLESSINGTON, JOHN                   7100-000             NA              435.00        435.00             0.00


0027          BLOCK, ROBERT                       7100-000             NA              150.00        150.00             0.00


0254          BLOUCH, DREW                        7100-000             NA               33.75          33.75            0.00


0486          BOAINS, DOUG                        7100-000             NA              145.00        145.00             0.00


0351          BONEE, JOHN                         7100-000             NA              145.00        145.00             0.00


0053          BONNIER CORPORATION                 7100-000             NA          94,619.45       94,619.45        5,031.51


0452          BOYD, TIMOTHY                       7100-000             NA              145.00        145.00             0.00


0007          BRADLEY, MICHAEL J.                 7100-000             NA               75.00          75.00            0.00


0123          BRANDBASE, INC.                     7100-000             NA            5,744.07       5,744.07          305.44


0189          BREEMEN, ERIC                       7100-000             NA              290.00        290.00             0.00


0214          BRIDBURG, SHARON                    7100-000             NA              300.00        300.00             0.00


0009          BROCK, KATHLEEN                     7100-000             NA              290.00        290.00             0.00


0545          BROSNIHAN, TIM                      7100-000             NA              250.00        250.00             0.00


0251          BROTHERS, WILLIAM                   7100-000             NA              125.00        125.00             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 12)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 13 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0359          BUCK, LAURA                         7100-000             NA              290.00        290.00             0.00


0353          BUCKOVICH, PAUL/KYM                 7100-000             NA              290.00        290.00             0.00


0190          BURAS, JENNIFER                     7100-000             NA              145.00        145.00             0.00


0508          C&A REALTY TRUST                    7100-000             NA          22,004.68       22,004.68            0.00


0504          C&A REALTY TRUST                    7100-000             NA          29,111.12       29,111.12        1,548.02


0488          CAMPBELL, SUSAN                     7100-000             NA              290.00        290.00             0.00


0064          CANNISTRARO, RITA A.                7100-000             NA              450.00        450.00             0.00


0239          CANNON, CATHIE                      7100-000             NA              145.00        145.00             0.00


0461          CAPASSO, LISA                       7100-000             NA              335.00        335.00             0.00


0309          CAPPELLO, JEFF                      7100-000             NA              290.00        290.00             0.00


0493          CARNES, OKSANA                      7100-000             NA              290.00        290.00             0.00


0481          CARON, KELLY                        7100-000             NA              502.48        502.48             0.00


0129          CARR, BRIDGET                       7100-000             NA              290.00        290.00             0.00


0130          CARR, BRIDGET                       7100-000             NA              225.00        225.00             0.00


0109          CARR, BRIDGET                       7100-000             NA              225.00        225.00             0.00


0110          CARR, BRIDGET                       7100-000             NA              290.00        290.00             0.00


0268          CARROLL, JOHN                       7100-000             NA              540.00        540.00             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 13)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 14 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0442          CARTER, DAVID                       7100-000             NA              496.68        496.68               0.00


0139          CARTER, RONALD C.                   7100-000             NA              435.00        435.00               0.00


0522          CHAMBERS, SALLY                     7100-000             NA              290.00        290.00               0.00


0391          CHARNLEY, ELISABETH                 7100-000             NA              132.12        132.12               0.00


0479          CHATLIN, CHERYL                     7100-000             NA              250.00        250.00               0.00


0295          CHEUNG, GLORIA                      7100-000             NA              290.00        290.00               0.00


0466          CHOMAS, NATASHA                     7100-000             NA              435.00        435.00               0.00


0097          CHUNG, PIERRE                       7100-000             NA              145.00        145.00               0.00


              CIT TECHNOLOGY
0057          FINANCING SERVICES,                 7100-000             NA                0.00             0.00            0.00


              CITADEL BROADCASTING
0037          COMPANY                             7100-000             NA          21,350.00       21,350.00          1,135.31


              CITY OF WARWICK, TAX
0020          COLLECTOR                           7100-000             NA            3,581.66       3,581.66              0.00


0387          CLAPP, DOUG                         7100-000             NA              145.00        145.00               0.00


0138          CLAYSON, DARIS                      7100-000             NA              489.98        489.98               0.00


              COFACE NORTH
0023          AMERICA, INC.                       7100-000             NA          41,170.95       41,170.95          2,189.32


0308          COLLINS, CHRIS                      7100-000             NA              250.00        250.00               0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 14)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 15 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0250          COLONERO, CRAIG                     7100-000             NA              290.00        290.00             0.00


              CONNECTICUT LIGHT &
0051          POWER                               7100-000             NA              905.16        905.16            48.13


0018          CONNIFF, JAMES                      7100-000             NA          46,966.76       21,966.76        1,168.11


0084          CONNOLLY, STEPHEN S.                7100-000             NA              250.00        250.00             0.00


0131          CONWAY, MATTHEW J.                  7100-000             NA              290.00        290.00             0.00


0360          COOPER, MARGARET S.                 7100-000             NA              435.00        435.00             0.00


0530          CORBO, NANCY                        7100-000             NA              290.00        290.00             0.00


0406          COSSETTE, KAREN                     7100-000             NA              100.00        100.00             0.00


0252          COTHERN, CATHERINE                  7100-000             NA              150.00        150.00             0.00


0320          COUGHLIN, SUSAN                     7100-000             NA              145.00        145.00             0.00


0435          COVINO, MEGAN                       7100-000             NA              435.00        435.00             0.00


              CREDITORS ADJUSTMENT
0086          BUREAU, INC.                        7100-000             NA          10,103.06       10,103.06          537.24


0423          CURRY, LISA                         7100-000             NA              290.00        290.00             0.00


0290          CZEKANSKI, PAM                      7100-000             NA              290.00        290.00             0.00


0482          D'AGOSTINO, JOHN                    7100-000             NA              300.00        300.00             0.00


0468          D'ALOIA, ALICIA                     7100-000             NA              290.00        290.00             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 15)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 16 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0448          DAGAN, HAGAY                        7100-000             NA              145.00        145.00             0.00


0062          DAGOSTINO, JEFF                     7100-000             NA              290.00        290.00             0.00


0003          DAKINE                              7100-000             NA          20,516.66       20,516.66            0.00


0210          DAKINE                              7100-000             NA          17,394.27       17,394.27          924.96


0446          DALTON, III, JOHN T.                7100-000             NA              175.00        175.00             0.00


0146          DALTON, III, JOHN T.                7100-000             NA              175.00        175.00             0.00


0310          DALY, DAVID                         7100-000             NA              290.00        290.00             0.00


0161          DAOUST, SHAWNA                      7100-000             NA              200.00        200.00             0.00


0209          DAVIDOFF, JACK                      7100-000             NA              175.00        175.00             0.00


0465          DAVIS, MICHAEL                      7100-000             NA              145.00        145.00             0.00


0112          DAVIS, SUSAN                        7100-000             NA               70.00          70.00            0.00


0106          DECKER, WENDY                       7100-000             NA              145.00        145.00             0.00


0356          DECKER, WENDY                       7100-000             NA              145.00        145.00             0.00


0030          DECOLA, PETER N.                    7100-000             NA              290.00        290.00             0.00


0181          DEFORD, GILL                        7100-000             NA              145.00        145.00             0.00


0475          DEFRANCO, CARL                      7100-000             NA              290.00        290.00             0.00


0226          DERDERIAN, FAITH                    7100-000             NA              145.00        145.00             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 16)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 17 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

              DESIGN, ROBERT
0012          FICHTEL                             7100-000             NA          35,777.79       24,827.79        1,320.25


0141          DILIBERTO, JANINE                   7100-000             NA               50.00          50.00            0.00


0262          DIMEO, RICHARD                      7100-000             NA              145.00        145.00             0.00


0240          DN VENTURES, INC.                   7100-000             NA          25,000.00       25,000.00            0.00


0015          DOHERTY, SIOBHAN                    7100-000             NA              435.00        435.00             0.00


0451          DOLE, VIVIAN                        7100-000             NA              200.00        200.00             0.00


0517          DONNELLY, GINGER                    7100-000             NA              435.00        435.00             0.00


0411          DOYLE, LAURA                        7100-000             NA              290.00        290.00             0.00


0419          DOYLE, WILLIAM                      7100-000             NA              250.00        250.00             0.00


0492          DUNDON, KAREN                       7100-000             NA              250.00        250.00             0.00


0527          DUSSAULT, DAN                       7100-000             NA              150.00        150.00             0.00


0318          EIELSON, KRIS                       7100-000             NA              290.00        290.00             0.00


0364          ELLOVICH, DAVID                     7100-000             NA              501.98        501.98             0.00


0317          ENG, RUSSELL                        7100-000             NA              290.00        290.00             0.00


0031          ENTERPRISES, RUFFALO                7100-000             NA            2,688.74       2,688.74          142.98


              EPPERSON, JR., DONALD
0118          C.                                  7100-000             NA               39.99          39.99            0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 17)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 18 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0005          EPSTEIN, NEIL                       7100-000             NA              300.00        300.00             0.00


              EQUIPMENT, VERMONT
0150          SKI SAFETY                          7100-000             NA              688.00        688.00            36.58


0248          ERTEL, STEVEN                       7100-000             NA              600.47        600.47             0.00


              ESQUIRE, GERARD F.
0340          FORTON,                             7100-000             NA          97,781.87       97,781.87        5,199.68


0497          EVERETT, ANTHONY                    7100-000             NA              145.00        145.00             0.00


0392          FALLON, CARIN                       7100-000             NA              290.00        290.00             0.00


0532          FANUELE, DEBBIE                     7100-000             NA              200.00        200.00             0.00


0531          FANUELE, DEBBIE                     7100-000             NA              300.00        300.00             0.00


0385          FARINELLA, SUSAN                    7100-000             NA              290.00        290.00             0.00


0061          FECTEAU, JEFFREY                    7100-000             NA              290.00        290.00             0.00


0357          FECTEAU, JEFFREY                    7100-000             NA              290.00        290.00             0.00


0367          FERNANDEZ, JANE                     7100-000             NA              290.00        290.00             0.00


0454          FERTIK, LISA                        7100-000             NA              150.00        150.00             0.00


0449          FINLAY, JOHN                        7100-000             NA              435.00        435.00             0.00


0319          FITZGERALD, PEGGY                   7100-000             NA              290.00        290.00             0.00


0307          FOLEY, TODD                         7100-000             NA              145.00        145.00             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 18)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 19 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0178          FOSDICK, CAROLINE                   7100-000             NA                0.00             0.00            0.00


0282          FOSTER, HEATHER                     7100-000             NA               50.00          50.00              0.00


              FOUR SQUARE
0277          ASSOCIATES LLC                      7100-000             NA          52,999.56       52,999.56          2,818.32


              FOUR STAR
0328          DISTRIBUTION                        7100-000             NA            3,794.30       3,794.30            201.77


0231          FRANCIS, KATE SAN                   7100-000             NA              300.00        300.00               0.00


0211          FRANKEL, JAY                        7100-000             NA              145.00        145.00               0.00


              FREEPORT MERCHANTS
0092          ASSOCIATION                         7100-000             NA            2,870.00       2,870.00            152.62


0393          FROIO, JOHN                         7100-000             NA              300.00        300.00               0.00


0199          FUHRMAN, PAUL                       7100-000             NA              435.00        435.00               0.00


0519          GALLAGHER, KAREN                    7100-000             NA              290.00        290.00               0.00


0097          GALLANT, MEGAN                      7100-000             NA              290.00             0.00            0.00


0193          GARCIN, CECILE                      7100-000             NA              145.00        145.00               0.00


0176          GARDNER, HEIDI                      7100-000             NA              125.00        125.00               0.00


              GARVEY TRANSPORT,
0339          INC.                                7100-000             NA            2,832.00       2,832.00            150.59


0205          GAW, EDWIN                          7100-000             NA              145.00        145.00               0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 19)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 20 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0011          GELARDI, GUY                        7100-000             NA              245.93        245.93               0.00


0340          GEORGE, LOUIS                       7100-000             NA              501.98        501.98               0.00


0197          GIBBONS, BETTY                      7100-000             NA                0.00             0.00            0.00


0198          GIBBONS, JAMES                      7100-000             NA                0.00             0.00            0.00


0416          GIGUERE, MARC                       7100-000             NA              290.00        290.00               0.00


0518          GILES, SUSAN                        7100-000             NA              175.00        175.00               0.00


0269          GOLDBERG, BRYAN                     7100-000             NA              450.00        450.00               0.00


0006          GORSEL, HENDRIK VAN                 7100-000             NA              145.00        145.00               0.00


0134          GOVAN, WICHIAN                      7100-000             NA              290.00        290.00               0.00


0220          GRANT, CHRIS                        7100-000             NA              300.00        300.00               0.00


0235          GRANT, DOUG                         7100-000             NA              290.00        290.00               0.00


0533          GRAVA, GRANT                        7100-000             NA              500.00        500.00               0.00


0279          GREEN, STEVE                        7100-000             NA              145.00        145.00               0.00


0035          GREENSPAN, BETH                     7100-000             NA              100.77        100.77               0.00


              GREGORY & NANCY
0237          WEISSMAN                            7100-000             NA              188.99        188.99               0.00


0122          GRID, NATIONAL                      7100-000             NA            5,926.26       5,926.26            315.14




       UST Form 101-7-TDR (5/1/2011) (Page: 20)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 21 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0397          GRID, NATIONAL                      7100-000             NA              691.61        691.61            36.78


0390          GROSS, LINDA                        7100-000             NA              290.00        290.00             0.00


0485          GROVE, JOHN                         7100-000             NA              375.00        375.00             0.00


0155          GRUBER, ANDREW                      7100-000             NA              145.00        145.00             0.00


0195          GUTHRO, JANELLE                     7100-000             NA               76.01         76.01             0.00


0535          GUYER, MATT                         7100-000             NA              350.00        350.00             0.00


0306          HAHN, SYLVIA                        7100-000             NA              251.24        251.24             0.00


0402          HALLOWELL, BENEDICTE 7100-000                            NA              290.00        290.00             0.00


0058          HAMBLIN, ROBERT                     7100-000             NA               50.00         50.00             0.00


0455          HAMBLIN, ROBERT                     7100-000             NA               50.00         50.00             0.00


0374          HAMERMESH, JOSHUA                   7100-000             NA              250.00        250.00             0.00


0221          HAREL, SHAY                         7100-000             NA              145.00        145.00             0.00


0196          HARNETT, MARK                       7100-000             NA            1,000.00       1,000.00            0.00


0291          HARRIS, PATRICIA                    7100-000             NA              390.00        390.00             0.00


0065          HARRIS, ROSEMARIE                   7100-000             NA              113.00        113.00             0.00


0315          HARTNETT, MICHAEL                   7100-000             NA              290.00        290.00             0.00


0536          HAUTAU, JOANNE                      7100-000             NA              300.00        300.00             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 21)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 22 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0116          HAZEBROUCK, DAVID                   7100-000             NA              175.00        175.00             0.00


0388          HEALD, WILLIAM                      7100-000             NA              290.00        290.00             0.00


0257          HEISLEIN, DAVID                     7100-000             NA              290.00        290.00             0.00


0288          HELMKE, WILLIAM                     7100-000             NA              290.00        290.00             0.00


0459          HERR, DEBRA                         7100-000             NA              350.00        350.00             0.00


0241          HERSHEY, JEFF                       7100-000             NA              290.00        290.00             0.00


0024          HERSHEY, JEFF                       7100-000             NA              290.00        290.00             0.00


0259          HILL, AMANDA                        7100-000             NA              145.00        145.00             0.00


0184          HINTLIAN, ARAM                      7100-000             NA              290.00        290.00             0.00


0216          HOERTDOERFER, ERIC                  7100-000             NA              290.00        290.00             0.00


0242          HOREN, DENISE                       7100-000             NA              150.00        150.00             0.00


0072          HOTRONICS                           7100-000             NA          17,001.76       17,001.76          904.09


0022          HOWARD, DEBRA                       7100-000             NA              290.00        290.00             0.00


0379          HUMPHREYS, LISA                     7100-000             NA              580.00        580.00             0.00


              INDUSTRIES,
0147          LONGWORTH                           7100-000             NA          30,441.54       30,441.54            0.00


0080          INTERCALL                           7100-000             NA              379.00        379.00            20.16




       UST Form 101-7-TDR (5/1/2011) (Page: 22)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 23 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0407          IRVING, DEBBY                       7100-000             NA              290.00         290.00            0.00


0247          ISLAND, RHODE                       7100-000             NA            1,000.00       1,000.00            0.00


0474          IZUMI, PEARL                        7100-000             NA          10,283.00       10,283.00          546.81


0175          JACOBS, DEBORAH                     7100-000             NA              300.00         300.00            0.00


0543          JACOBS, JOHN                        7100-000             NA               50.00          50.00            0.00


0491          JAUERUNG, CYNTHIA                   7100-000             NA              290.00         290.00            0.00


0370          JEANNE & CHRIS KMETZ                7100-000             NA              231.64         231.64            0.00


0352          JOHNSON, DANIEL                     7100-000             NA              145.00         145.00            0.00


0441          JOHNSON, KAREN                      7100-000             NA              100.00         100.00            0.00


0457          JOHNSON, MICHELLE                   7100-000             NA              290.00         290.00            0.00


0172          JOHNSON, PAUL                       7100-000             NA              290.00         290.00            0.00


0439          JONES, BRAD                         7100-000             NA              145.00         145.00            0.00


0296          JORDAN, LAURIE                      7100-000             NA              300.00         300.00            0.00


0188          JOYCE, KEVIN                        7100-000             NA              435.00         435.00            0.00


0414          K-2 CORPORATION                     7100-000             NA         617,704.48      617,704.48       32,847.22


0294          KAPLAN, HARLEY                      7100-000             NA              290.00         290.00            0.00


0039          KEARE, HEATHER                      7100-000             NA              145.00         145.00            0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 23)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 24 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0338          KEATING, DANIEL                     7100-000             NA              145.00        145.00               0.00


0430          KENDALL, ALIDA                      7100-000             NA              435.00        435.00               0.00


              KENNETH & SANDRA
0099          MANN                                7100-000             NA         312,559.90              0.00            0.00


              KENNETH MANN &
0493          SANDRA MANN                         7100-000             NA         312,559.90       67,300.67          3,578.80


0524          KIM, MARLENE                        7100-000             NA              160.00        160.00               0.00


0333          KIMBALL, ALEXA                      7100-000             NA              145.00        145.00               0.00


0141          KIMCO REALTY CORP.                  7100-000             NA          65,272.80       47,854.80          2,544.74


0513          KING, CAMILLA                       7100-000             NA              300.00        300.00               0.00


0368          KITTREDGE, KAREN                    7100-000             NA              145.29        145.29               0.00


0260          KLIMKOSKI, CYNTHIA                  7100-000             NA              145.00        145.00               0.00


0232          KORALNIK, IGOR                      7100-000             NA              290.00        290.00               0.00


0206          KOSOWSKY, RICH                      7100-000             NA              290.00        290.00               0.00


0052          KOSTER, MARY JEAN                   7100-000             NA              145.00        145.00               0.00


0394          KRAWITZ, STEPHEN                    7100-000             NA              500.00        500.00               0.00


0201          KUCHAR, BRIAN                       7100-000             NA              145.00        145.00               0.00


0332          LAFRANCE, JANIS                     7100-000             NA              250.00        250.00               0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 24)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 25 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0440          LAGAN, DANIEL                       7100-000             NA              150.00        150.00             0.00


0083          LAIOSA, JAMES                       7100-000             NA              100.00        100.00             0.00


0404          LAIRD, DEBORAH                      7100-000             NA              800.00        800.00             0.00


0480          LAMBRENOS, NICK                     7100-000             NA            2,603.64       2,603.64            0.00


0119          LANE, LISA                          7100-000             NA              290.00        290.00             0.00


0413          LANGENHAGEN, CONRAD 7100-000                             NA              145.00        145.00             0.00


0140          LAROSE, CLAUDEL                     7100-000             NA              129.00        129.00             0.00


0355          LARZELERE, KARA                     7100-000             NA              290.00        290.00             0.00


0505          LAWCEWICZ, MARIA                    7100-000             NA              145.00        145.00             0.00


0324          LAWRENCE, LYNN                      7100-000             NA              145.00        145.00             0.00


0236          LEE, KANGWON                        7100-000             NA              145.00        145.00             0.00


0135          LEKI                                7100-000             NA          45,679.54       36,195.17        1,924.73


0122          LEMIRE, LISA                        7100-000             NA              100.00        100.00             0.00


0354          LEPITO, LISA                        7100-000             NA              145.00        145.00             0.00


0274          LEVINE, EZRA                        7100-000             NA              290.00        290.00             0.00


0521          LEWACK, STEWART                     7100-000             NA              290.00        290.00             0.00


0034          LEWIS, ROSE                         7100-000             NA              145.00        145.00             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 25)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 26 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0222          LIU, CHANG                          7100-000             NA              290.00         290.00            0.00


0225          LOMBARDI, SEB                       7100-000             NA              100.00         100.00            0.00


0506          LOUGHLIN, JANET                     7100-000             NA              145.00         145.00            0.00


0076          LUETKEMEYER, LEANNE                 7100-000             NA              145.00         145.00            0.00


0453          LUNDY, DANIEL                       7100-000             NA              500.00         500.00            0.00


0339          LUTTMER, ERZO                       7100-000             NA              350.00         350.00            0.00


0041          LYONS, RICHARD                      7100-000             NA              145.00         145.00            0.00


0088          MACCUTCHEON, DAVID                  7100-000             NA              145.00         145.00            0.00


0271          MACDONALD, LESLEY                   7100-000             NA              145.00         145.00            0.00


0433          MACKENZIE, ELLEN                    7100-000             NA              290.00         290.00            0.00


0509          MACKINNON, JOHN                     7100-000             NA              450.00         450.00            0.00


0337          MAHONEY, KAREN                      7100-000             NA              290.00         290.00            0.00


0463          MALLETTE, FRANCOIS                  7100-000             NA              145.00         145.00            0.00


0542          MALONEY, JUDITH                     7100-000             NA              100.00         100.00            0.00


0286          MALTZMAN, DEBRA                     7100-000             NA              290.00         290.00            0.00


              MANAGEMENT, MILL
0469          LANE                                7100-000             NA         636,326.08      130,399.92        6,934.18




       UST Form 101-7-TDR (5/1/2011) (Page: 26)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 27 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0119          MAPS, RUBEL BIKE                    7100-000             NA              570.18         570.18           30.32


0273          MAR, JOHN                           7100-000             NA              145.00         145.00            0.00


0171          MARCHETTI, PETER                    7100-000             NA              145.00         145.00            0.00


0258          MARK, SCOTT VAN DE                  7100-000             NA              290.00         290.00            0.00


0275          MARKER LTD.                         7100-000             NA         129,809.02      129,809.02        6,902.76


              MARKER VOLKL USA,
0094          INC.                                7100-000             NA         221,402.69      221,402.69       11,773.37


0403          MARSH, DEAN                         7100-000             NA              435.00         435.00            0.00


0384          MARSHALL, CAROLYN                   7100-000             NA              149.00         149.00            0.00


0502          MASIELLO, TOM                       7100-000             NA              502.48         502.48            0.00


              MASSACHUSETTS
              DEPARTMENT OF
0085          REVENUE                             7100-000             NA            2,012.09       2,012.09            0.00


              MASSACHUSETTS
              DEPARTMENT OF
0085          REVENUE                             7100-000             NA               80.00          80.00            0.00


0544          MASSAD, SUSAN                       7100-000             NA              250.00         250.00            0.00


0117          MCCABE, JEANNE                      7100-000             NA              290.00         290.00            0.00


0313          MCCANN, KIMBERLY                    7100-000             NA              290.00         290.00            0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 27)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 28 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0523          MCCARRON, JEN                       7100-000             NA              290.00        290.00               0.00


0471          MCCAULEY, TRISH                     7100-000             NA              290.00        290.00               0.00


0427          MCGRATH, JAMES                      7100-000             NA              290.00        290.00               0.00


0284          MCLAUGHLIN, ERIC                    7100-000             NA              290.00        290.00               0.00


              MECHANICAL ALLIANCE
0101          SERVICE                             7100-000             NA                0.00             0.00            0.00


              MECHANICAL ALLIANCE
0167          SERVICE                             7100-000             NA            5,876.25       4,359.00            231.80


              MECHANICAL, NEW
0425          ENGLAND                             7100-000             NA              328.60        328.60              17.47


0267          MEDOFF, BENJAMIN                    7100-000             NA              290.00        290.00               0.00


0538          MELNYK, DARCEY                      7100-000             NA              175.00        175.00               0.00


0334          MERRIAM, REBECCA                    7100-000             NA              228.54        228.54               0.00


0105          MEZZANOTTE, LAURA A.                7100-000             NA              135.00        135.00               0.00


0303          MILLER, KRISTEN                     7100-000             NA              100.00        100.00               0.00


0504          MILTENBERGER, SUE                   7100-000             NA              145.00        145.00               0.00


0348          MITCHELL, TOM                       7100-000             NA              145.00        145.00               0.00


0447          MONDO, MICHAEL                      7100-000             NA              290.00        290.00               0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 28)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 29 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0335          MONTI, MARK                         7100-000             NA               79.00         79.00               0.00


0395          MOROCCO, AMY                        7100-000             NA               50.00         50.00               0.00


0489          MULSAN, LAURIE                      7100-000             NA              145.00        145.00               0.00


0537          MUNCHMEYER, ANN                     7100-000             NA              600.00        600.00               0.00


0372          MURPHY, JIMMY                       7100-000             NA            1,000.00       1,000.00              0.00


0060          NALI, LEONARD                       7100-000             NA              173.61        173.61               0.00


              NANCY & GREG
0044          WEISSMAN                            7100-000             NA              188.99        188.99               0.00


0523          NANOFILM                            7100-000             NA              915.32        915.32              48.67


0362          NARAYAN, LAKSHMI                    7100-000             NA              145.00        145.00               0.00


0183          NARDELLA, JOHN                      7100-000             NA              145.00        145.00               0.00


0467          NARVAEZ, PAOLO                      7100-000             NA              145.00        145.00               0.00


0019          NATIV, ISAAC                        7100-000             NA              290.00        290.00               0.00


0038          NELSON, HEIDI                       7100-000             NA              290.00        290.00               0.00


0079          NETWORKS, BROADVIEW 7100-000                             NA            3,157.57             0.00            0.00


              NEW ENGLAND MOTOR
0059          FREIGHT, INC.                       7100-000             NA            1,037.37       1,037.37             55.16


0546          NEW YORK STATE                      7100-000             NA                0.00             0.00            0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 29)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 30 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

              NEW YORK STATE
0149          DEPARTMENT OF                       7100-000             NA          85,482.45       85,482.45              0.00


              NEW YORK STATE
0147          DEPARTMENT OF                       7100-000             NA            5,233.17       5,233.17            278.28


0158          NEWPORT, CHRISTOPHER 7100-000                            NA              145.00         145.00              0.00


0093          NISCAYAH, INC.                      7100-000             NA            2,290.64       2,290.64            121.81


0435          NITRO                               7100-000             NA          16,670.63       16,670.63            886.48


0525          NOONE, JILL                         7100-000             NA              497.17         497.17              0.00


0319          NORDICA                             7100-000             NA         195,246.56      195,246.56         10,382.48


              NORFOLK FINANCIAL
0228          CORP.                               7100-000             NA                0.00             0.00            0.00


0014          NORGEOT, CAROLINE                   7100-000             NA              146.93         146.93              0.00


              NORTHWAVE NORTH
0149          AMERICA, INC.                       7100-000             NA          33,411.72       33,411.72          1,776.71


0312          NOVITCH, DOUGLAS                    7100-000             NA              435.00         435.00              0.00


0112          NSTAR ELECTRIC & GAS                7100-000             NA            5,239.76       5,239.76            278.63


0470          NSTAR ELECTRIC & GAS                7100-000             NA            1,722.57       1,722.57             91.60


0487          NYSEG                               7100-000             NA            2,527.44       2,527.44            134.40


0345          O'CONNELL, BRIAN                    7100-000             NA              502.48         502.48              0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 30)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 31 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0004          O'CONNOR, KYLE                      7100-000             NA              435.00         435.00              0.00


0369          O'HORO, MICHAEL                     7100-000             NA              100.00         100.00              0.00


0210          O'KEEFE, ANN                        7100-000             NA            1,000.00       1,000.00              0.00


0418          O'SULLIVAN, MARK                    7100-000             NA              290.00         290.00              0.00


0262          OAKLEY                              7100-000             NA          90,558.31       90,558.31          4,815.55


0001          OAKLEY SALES CORP.                  7100-000             NA          88,475.83              0.00            0.00


0081          OLECHOWSKI, MARK                    7100-000             NA              279.83         279.83              0.00


0305          ORIENTALE, JEAN                     7100-000             NA              580.00         580.00              0.00


              OUTDOOR RECREATION
0297          GROUP                               7100-000             NA              973.75         973.75             51.78


0304          PAGANO, SAM                         7100-000             NA              150.00         150.00              0.00


0458          PARANGI, T                          7100-000             NA              145.00         145.00              0.00


              PARIS REALTY
0101          CORPORATION                         7100-000             NA         298,597.00      270,136.00         14,364.82


0444          PATERSON, MARISA                    7100-000             NA              290.00         290.00              0.00


0047          PAWLEY, LISA                        7100-000             NA              290.00         290.00              0.00


0234          PAWLEY, LISA                        7100-000             NA              290.00         290.00              0.00


0336          PEARSON, JOSEPH                     7100-000             NA              145.00         145.00              0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 31)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 32 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0494          PECK, VICTORIA                      7100-000             NA              290.00        290.00             0.00


0263          PELLETIER, STEVE                    7100-000             NA              290.00        290.00             0.00


0114          PENGUIN BRANDS, INC.                7100-000             NA            1,431.01       1,431.01           76.10


0371          PENNELL, KURT                       7100-000             NA              290.00        290.00             0.00


0534          PEPIN, LOUISE                       7100-000             NA              134.62        134.62             0.00


0230          PERGAMO, SUSAN                      7100-000             NA              300.00        300.00             0.00


0325          PERRY, JULIE                        7100-000             NA              514.48        514.48             0.00


0483          PERSANO, SANTIAGO                   7100-000             NA              290.00        290.00             0.00


0272          PEYTON, JENNIFER                    7100-000             NA              145.00        145.00             0.00


0074          PHILLIPS, MARGARET                  7100-000             NA              290.00        290.00             0.00


0285          PINES, DAVIDA                       7100-000             NA              523.07        523.07             0.00


0045          PITNEY BOWES INC                    7100-000             NA            3,362.11       3,362.11          178.78


0160          PLOTNICK, ADAM                      7100-000             NA              300.00        300.00             0.00


0194          POLARMAX                            7100-000             NA          30,441.54       30,441.54            0.00


0464          POOLE, DAVID                        7100-000             NA              150.00        150.00             0.00


0365          PRIEBE, CARLA                       7100-000             NA               10.00          10.00            0.00


0134          PRIMA IV LLC                        7100-000             NA          32,868.87       30,302.63        1,611.38




       UST Form 101-7-TDR (5/1/2011) (Page: 32)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 33 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0008          PUFFER, BRAD                        7100-000             NA              290.00         290.00              0.00


0445          QUERCIO, MARK J.                    7100-000             NA              753.72         753.72              0.00


0274          R.K. ASSOCIATES, INC.               7100-000             NA          95,860.99       95,860.99          5,097.53


0125          RALEIGH AMERICA, INC.               7100-000             NA         137,092.79      137,092.79          7,290.08


0358          RAMAGE, GEORGANN                    7100-000             NA              145.00         145.00              0.00


0233          RANDALL, JANET                      7100-000             NA              145.00         145.00              0.00


0071          RANJHAN, ELISABETH                  7100-000             NA              290.00         290.00              0.00


0476          RAPHAEL, BRUCE                      7100-000             NA              145.00         145.00              0.00


0376          RATCHFORD, SCOTT                    7100-000             NA              500.00         500.00              0.00


0396          RAY, LESLIE                         7100-000             NA              145.00         145.00              0.00


0156          RAYCROFT, THEODORE                  7100-000             NA              290.00         290.00              0.00


              RAYMARK XPERT
0042          BUSINESS SYSTEMS                    7100-000             NA            3,169.70       3,169.70            168.55


0049          REDFERN, CHRISTINE                  7100-000             NA              290.00         290.00              0.00


0150          REGAN, ADINE                        7100-000             NA              145.00         145.00              0.00


0082          REN, XIANGLIN                       7100-000             NA              145.00             0.00            0.00


0510          REYNOLDS, RACHEL                    7100-000             NA              450.00         450.00              0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 33)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 34 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0177          RILEY, SEAN                         7100-000             NA              700.00         700.00              0.00


0443          RIZZO, DOROTHY                      7100-000             NA              145.00         145.00              0.00


0297          ROBIDA, SHEILA                      7100-000             NA                0.00             0.00            0.00


0191          ROCHE, TOM                          7100-000             NA              290.00         290.00              0.00


0526          ROGERSON, NANCY                     7100-000             NA              290.00         290.00              0.00


0311          ROMAGNA, ANNETTE                    7100-000             NA              145.00         145.00              0.00


              ROME SNOWBOARD
0261          CORP.                               7100-000             NA         138,437.84      138,437.84          7,361.61


0398          ROOKWOOD, MICHAEL                   7100-000             NA              300.00         300.00              0.00


0154          ROSALA, JOHN C.                     7100-000             NA              145.00         145.00              0.00


0270          ROSEN, MERAV                        7100-000             NA              290.00         290.00              0.00


0460          ROSENBLUM, SCOTT                    7100-000             NA              290.00         290.00              0.00


0040          ROSENTHAL, ROBIN                    7100-000             NA              145.00         145.00              0.00


0209          ROSS EXPRESS                        7100-000             NA               89.01          89.01              4.74


0498          ROSSIGNOL                           7100-000             NA         143,615.17      143,615.17              0.00


0275          ROTHBART, JENNIFER                  7100-000             NA              300.00         300.00              0.00


0425          ROUGEMONT, JAMES                    7100-000             NA              145.00         145.00              0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 34)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 35 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0424          ROUSHANAEI, PATRICIA                7100-000             NA              145.00         145.00            0.00


0050          ROWELL, JILL                        7100-000             NA              290.00         290.00            0.00


0217          RUBIN, KEVIN                        7100-000             NA               60.00          60.00            0.00


0055          RUBIN, KEVIN                        7100-000             NA               60.00          60.00            0.00


0389          RUBIN, MARC                         7100-000             NA              145.00         145.00            0.00


0032          RUTHERFORD, LAURA                   7100-000             NA              555.60         555.60            0.00


              RYDER TRUCK RENTAL,
0066          INC.                                7100-000             NA          24,849.20       24,849.20        1,321.39


              RYDER TRUCK RENTAL,
0067          INC.                                7100-000             NA            7,195.70       7,195.70          382.64


              SACKETT NORWALK 490,
0028          LLC                                 7100-000             NA          34,046.12       40,226.56        2,139.10


              SACKETT NORWALK 490,
0029          LLC                                 7100-000             NA         239,618.83      239,618.83       12,742.04


              SACKETT NORWALK 490,
0541          LLC                                 7100-000             NA          17,500.00       17,500.00          930.58


0253          SAMPLE, KATE                        7100-000             NA              290.00         290.00            0.00


0046          SAMSUNG AMERICA, INC. 7100-000                           NA            5,023.02       5,023.02          267.11


0386          SAMUEL, SUSAN                       7100-000             NA              435.00         435.00            0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 35)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 36 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0069          SANTORO, LAURIE                     7100-000             NA               50.00         50.00               0.00


0328          SAYABOVORN, SOMPIT                  7100-000             NA              290.00        290.00               0.00


0350          SCARAMUZZA, LORI                    7100-000             NA              290.00        290.00               0.00


0503          SCARAMUZZO, JOHN                    7100-000             NA              290.00        290.00               0.00


0287          SCHMELTER, PETER                    7100-000             NA              552.39        552.39               0.00


0484          SCHOT, ANDREAS                      7100-000             NA              290.00        290.00               0.00


0414          SCHWEDOCK, JULIE                    7100-000             NA              300.00        300.00               0.00


0133          SCULLY, M. JEANNETTE                7100-000             NA               75.00         75.00               0.00


0363          SEGEL, MARK                         7100-000             NA              290.00        290.00               0.00


0036          SEIDMAN, JODY                       7100-000             NA              290.00        290.00               0.00


0512          SERRA, RAY                          7100-000             NA              290.00        290.00               0.00


0378          SHACHAM, EITAM                      7100-000             NA              290.00        290.00               0.00


0495          SHANNON, KAREN                      7100-000             NA              290.00        290.00               0.00


0054          SHARON, LIOR                        7100-000             NA              290.00             0.00            0.00


0207          SHEEHAN, EUGENE                     7100-000             NA              300.00        300.00               0.00


0450          SHEFFIELD, PAMELA                   7100-000             NA                0.00             0.00            0.00


0381          SHER, RICHARD                       7100-000             NA              175.00        175.00               0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 36)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54        Desc Main
                                                      Document      Page 37 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0013          SHERRILL, JENNIFER                  7100-000             NA              435.00          435.00             0.00


0002          SHOES, DC                           7100-000             NA          31,028.91              0.00            0.00


0429          SHOES, DC                           7100-000             NA          25,707.56        25,707.56         1,367.04


0431          SHUSTERMAN, JON                     7100-000             NA              290.00          290.00             0.00


0462          SIEGER, KATHTY                      7100-000             NA              435.00          435.00             0.00


0245          SIVAK, TOM                          7100-000             NA              290.00          290.00             0.00


0102          SKULLCANDY                          7100-000             NA            4,773.94        4,773.94           253.86


0056          SMARTWOOL                           7100-000             NA          63,058.62        63,058.62         3,353.22


0520          SMARTWOOL                           7100-000             NA          63,058.62        63,058.62             0.00


0409          SMITH OPTICS, INC.                  7100-000             NA         146,733.20      146,733.20          7,802.72


0487          SMITH, MARK                         7100-000             NA              140.00          140.00             0.00


0470          SOLAKIAN, MARK                      7100-000             NA              290.00          290.00             0.00


0113          SOLUTIONS, CON EDISON 7100-000                           NA          11,644.99        11,644.99           619.24


              SOUTH SHORE SAVINGS
0515          BANK                                7100-000             NA       2,421,914.00     2,421,914.00             0.00


              SOUTH SHORE SAVINGS
0514          BANK                                7100-000             NA       1,807,086.00     1,807,086.00             0.00


0143          SPADA, MARY LYNN                    7100-000             NA              145.00          145.00             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 37)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 38 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0422          SPECHT, MICHELLE                    7100-000             NA              435.00        435.00             0.00


0478          SPLAINE, NEAL                       7100-000             NA              290.00        290.00             0.00


0543          SPORT OBERMYER, LTD.                7100-000             NA          10,000.00       10,000.00          531.77


0423          SPORTS, FLOW                        7100-000             NA          10,363.36       10,363.36          551.08


0106          SPORTS, JUPA                        7100-000             NA          47,392.12       47,392.12        2,520.14


              SPYDER ACTIVE SPORTS,
0124          INC.                                7100-000             NA          33,742.49       33,742.49        1,794.30


0499          STALZER, JENNIFER                   7100-000             NA              290.00        290.00             0.00


0161          STAPLES, INC.                       7100-000             NA            5,849.48       5,849.48          311.05


0529          STARRETT, MONICA                    7100-000             NA              600.00        600.00             0.00


0165          STATE OF CONNECTICUT                7100-000             NA          81,380.20       81,380.20            0.00


0164          STATE OF CONNECTICUT                7100-000             NA            8,348.52       8,348.52            0.00


0429          STEINBERG, ELLIOT                   7100-000             NA               50.00          50.00            0.00


              STEPHEN & VIVIAN
0409          RHOADES                             7100-000             NA              175.00        175.00             0.00


0283          STEVENSON, LISA                     7100-000             NA              290.00        290.00             0.00


0405          STIER, JENNIFER                     7100-000             NA              290.00        290.00             0.00


0326          STILLMAN, EZRA                      7100-000             NA              154.06        154.06             0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 38)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 39 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

              STOKESBURY, WILLIAM
0090          C.                                  7100-000             NA              290.00         290.00              0.00


0173          STOWELL, KENDRA                     7100-000             NA              400.00         400.00              0.00


0298          SUPERFEET                           7100-000             NA            5,919.00       5,919.00            314.75


0296          SUPERMEDIA LLC                      7100-000             NA            5,980.62       5,980.62            318.03


0324          SUTHERLAND'S                        7100-000             NA            1,582.58       1,582.58             84.16


0199          SWIX                                7100-000             NA          25,587.78       25,587.78          1,360.66


0434          TECNICA                             7100-000             NA         130,800.80      130,800.80          6,955.50


0229          TERRILL, MAUREEN                    7100-000             NA               45.00          45.00              0.00


0323          TERSONI, JOHN                       7100-000             NA               25.00          25.00              0.00


0127          TETREAULT, PAUL F.                  7100-000             NA            7,084.00       7,084.00            376.70


              THE BUFFALO NEWS, A
0417          DIVISION OF OBH                     7100-000             NA          12,830.23       12,830.23            682.26


0164          THE BURTON CORP                     7100-000             NA         426,409.56      426,409.56         22,674.87


              THE CONNECTICUT
0026          LIGHT & POWER COMPA                 7100-000             NA              109.51         109.51              5.82


0163          THE NORTH FACE                      7100-000             NA          43,553.07       43,553.07          2,315.99


              THE OUTDOOR
0043          RECREATION GROUP                    7100-000             NA              973.75             0.00            0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 39)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 40 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0281          THIESFELDT, LISA                    7100-000             NA              244.99        244.99               0.00


              THOMAS, ESQ., PRINCE
0091          ALTEE                               7100-000             NA                0.00             0.00            0.00


0456          THOMSON, KATHLEEN                   7100-000             NA                0.00             0.00            0.00


0246          THRUN, KATHLEEN                     7100-000             NA              491.86        491.86               0.00


0216          THULE                               7100-000             NA            7,876.99       7,876.99            418.87


0063          THURSTON, JENNIFER                  7100-000             NA              145.00        145.00               0.00


              TIMOTHY CARROLL &
0516          DIANA CARROLL                       7100-000             NA              290.00        290.00               0.00


0329          TINGLE, STEPHEN                     7100-000             NA              139.00        139.00               0.00


0223          TOBASKY, EVAN                       7100-000             NA              450.00        450.00               0.00


0224          TOBIN, PATRICIA                     7100-000             NA               75.00         75.00               0.00


0421          TOMASSO, LINDA                      7100-000             NA              290.00        290.00               0.00


0511          TONKIN, CHRISTOPHER                 7100-000             NA              290.00        290.00               0.00


0330          TOOKER, MORRIS                      7100-000             NA              290.00        290.00               0.00


              TOTAL FACILITIES
0107          SERVICES                            7100-000             NA              847.72        847.72              45.08


0096          TOUSIGNANT, SUSAN                   7100-000             NA              145.00        145.00               0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 40)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 41 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

              TOWN FAIR TIRE
0498          CENTERS, INC.                       7100-000             NA         252,336.62      252,336.62       13,418.32


0276          TOWN OF AVON                        7100-000             NA            2,688.40       2,688.40            0.00


0224          TOWN OF WELLESLEY                   7100-000             NA              150.22         150.22            7.99


0289          TOWN OF WELLESLEY                   7100-000             NA            2,856.33       2,856.33          151.88


0344          TREVINO, ANA                        7100-000             NA              145.00         145.00            0.00


0397          TRIEDMAN, JOHN                      7100-000             NA              120.00         120.00            0.00


0192          TRINGALE, CHRISTINE                 7100-000             NA              695.98         695.98            0.00


0215          TRODERMAN, JEFFREY                  7100-000             NA              145.00         145.00            0.00


0187          TROFIMOVA, ALENA                    7100-000             NA              145.00         145.00            0.00


0073          TRUEX, EDWARD                       7100-000             NA              200.00         200.00            0.00


0408          TRUMBULL, KIM                       7100-000             NA              145.00         145.00            0.00


0366          TSUI, WALTER                        7100-000             NA              251.24         251.24            0.00


0131          UNLIMITED, BERN                     7100-000             NA          43,677.03       43,677.03        2,322.58


0010          URISKO, PAMELA                      7100-000             NA              145.00         145.00            0.00


0203          URISKO, PAMELA                      7100-000             NA              145.00         145.00            0.00


0383          VALENTE, ANDREW                     7100-000             NA              290.00         290.00            0.00




       UST Form 101-7-TDR (5/1/2011) (Page: 41)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54       Desc Main
                                                      Document      Page 42 of 70




                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

0151          VERIZON                             7100-000             NA            2,745.36       2,745.36          145.99


0302          VIETS, TROY                         7100-000             NA               37.50          37.50            0.00


0314          VISVIS, BETSY                       7100-000             NA               50.00          50.00            0.00


0205          VOX                                 7100-000             NA            1,793.48       1,793.48           95.37


0179          WADJA, ROBERT                       7100-000             NA              290.00        290.00             0.00


0469          WALDECK, JR., GEORGE                7100-000             NA              290.00        290.00             0.00


0249          WALLACE, JULIE                      7100-000             NA              290.00        290.00             0.00


0157          WANG, DANIEL                        7100-000             NA              330.93        330.93             0.00


0346          WARDROP, CHRIS                      7100-000             NA              435.00        435.00             0.00


0025          WARN, JON                           7100-000             NA              290.00        290.00             0.00


0098          WEAR, WOOLY BULLY                   7100-000             NA          15,539.15       15,539.15          826.31


0349          WEILER, SUSAN                       7100-000             NA              145.00        145.00             0.00


              WEXELBLATT,
0261          ELIZABETH                           7100-000             NA              300.00        300.00             0.00


              WGW EVENTS, LLC/DBA
0126          TGR TOUR                            7100-000             NA            2,000.00       2,000.00          106.35


              WGW EVENTS, LLC/DBA
0160          TGR TOUR                            7100-000             NA            2,000.00       2,000.00          106.35




       UST Form 101-7-TDR (5/1/2011) (Page: 42)
              Case 09-22502             Doc 532       Filed 03/22/13 Entered 03/22/13 10:16:54          Desc Main
                                                      Document      Page 43 of 70




                                                               CLAIMS           CLAIMS
                                                  UNIFORM
                                                             SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                              (from Form     (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)            Claim)

0197          WHIP COPY PRODUCTS                  7100-000             NA               338.08           338.08            17.98


0298          WILLIAMS, SIMON                     7100-000             NA               290.00           290.00             0.00


0380          WILLISON, HALLEY                    7100-000             NA               290.00           290.00             0.00


0159          WILLISON, HALLGY                    7100-000             NA               290.00           290.00             0.00


0263          WINTERSTEIGER, INC.                 7100-000             NA           27,351.43         27,351.43         1,454.45


0377          XUE, HONG                           7100-000             NA                89.99            89.99             0.00


0410          YAMIN, JEREMY                       7100-000             NA               290.00           290.00             0.00


0436          YANG, JUDY                          7100-000             NA               300.00           300.00             0.00


0077          YRC, INC.                           7100-000             NA             4,841.89         4,841.89          257.47


0382          YU, ROBERTA                         7100-000             NA               145.00           145.00             0.00


0174          ZACK, BARBARA                       7100-000             NA                50.00            50.00             0.00


0182          ZHAO, BENJAMIN                      7100-000             NA               435.00           435.00             0.00

TOTAL GENERAL UNSECURED                                               $ NA   $ 11,213,308.26     $ 9,952,376.44     $ 268,577.91
CLAIMS




       UST Form 101-7-TDR (5/1/2011) (Page: 43)
                                               Case 09-22502               Doc 532     Filed 03/22/13  Entered 03/22/13 10:16:54
                                                                                                  FORM 1
                                                                                                                                                                         Desc Main
                                                                                       Document      Page 44 of 70
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:       1
                                                                                                            ASSET CASES                                                                                                   Exhibit 8
Case No:             09-22502       HJB       Judge: Henry J. Boroff                                                                            Trustee Name:                       JOSEPH BRAUNSTEIN
Case Name:           THE SKI MARKET LTD., INC.                                                                                                 Date Filed (f) or Converted (c):     08/26/10 (c)
                                                                                                                                               341(a) Meeting Date:                 09/27/10
For Period Ending: 12/31/12                                                                                                                    Claims Bar Date:                     12/27/10



                                          1                                                 2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. 2003 Ford E250 Cargo Van                                                                     0.00                               0.00                                             4,500.00                     FA
 2. Post-Petition Interest Deposits (u)                                                     Unknown                                 0.00                                                16.82                     FA
 3. PREFERENCES - NY Electric & Gas (u)                                                          0.00                               0.00                                             2,527.44                     FA
 4. PREFERENCES - Citadel Broadcasting Co. (u)                                                   0.00                               0.00                                             7,169.10                     FA
 5. PREFERENCES - Coalision USA, Inc. (u)                                                        0.00                               0.00                                            30,000.00                     FA
 6. PREFERENCES - Rome Snowboards Corp. (u)                                                      0.00                               0.00                                            25,000.00                     FA
 7. PREFERENCES - Electric Visual Evolution, LLC (u)                                             0.00                               0.00                                             6,344.42                     FA
 8. PREFERENCES - Bern Unlimited, LLC (u)                                                        0.00                               0.00                                             7,500.00                     FA
 9. PREFERENCES- Jamis Bicycles (u)                                                              0.00                               0.00                                             6,667.00                     FA
 10. PREFERENCES - G. Joannou Cycle (u)                                                          0.00                               0.00                                             3,333.00                     FA
 11. PREFERENCES -The North Face (u)                                                             0.00                               0.00                                             5,000.00                     FA
 12. PREFERENCES - Vans, Inc. (u)                                                                0.00                               0.00                                             4,500.00                     FA
 13. PREFERENCES - Mill Lane (u)                                                                 0.00                               0.00                                             5,000.00                     FA
 14. PREFERENCES- Sackett Norwalk (u)                                                            0.00                               0.00                                            17,500.00                     FA
 15. PREFERENCES - WBZ -AM (CBS Radio) (u)                                                       0.00                               0.00                                             3,150.00                     FA
 16. PREFERENCES - Broadview Networks, Inc. (u)                                                  0.00                               0.00                                             4,491.20                     FA
 17. PREFERENCES - Sport Obermeyer, Ltd. (u)                                                     0.00                               0.00                                            10,000.00                     FA

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                              $0.00                             $0.00                                           $142,698.98                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   The Final Report was allowed on December 14, 2012.




LFORM1                                                                                                                                                                                                                           Ver: 17.01
         UST Form 101-7-TDR (5/1/2011) (Page: 44)
                                            Case 09-22502                Doc 532     Filed 03/22/13  Entered 03/22/13 10:16:54
                                                                                                FORM 1
                                                                                                                                                      Desc Main
                                                                                     Document      Page 45 of 70
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                           Page:      2
                                                                                                        ASSET CASES                                                                  Exhibit 8
Case No:            09-22502       HJB    Judge: Henry J. Boroff                                                            Trustee Name:                      JOSEPH BRAUNSTEIN
Case Name:          THE SKI MARKET LTD., INC.                                                                               Date Filed (f) or Converted (c):   08/26/10 (c)
                                                                                                                            341(a) Meeting Date:               09/27/10
                                                                                                                            Claims Bar Date:                   12/27/10


   RE PROP# 10---G. Joannou Cycle Co., Inc.
   RE PROP# 14---preferences - Sackett Norwalk LLC
   RE PROP# 17---re: settlement payment


   Initial Projected Date of Final Report (TFR): 12/31/12          Current Projected Date of Final Report (TFR): 06/30/13




LFORM1                                                                                                                                                                                     Ver: 17.01
         UST Form 101-7-TDR (5/1/2011) (Page: 45)
                                          Case 09-22502             Doc 532      Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                 Document FORM Page
                                                                                                 2 46 of 70                                                                                     Page:       1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                         Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                             Bank Name:                       ASSOCIATED BANK
                                                                                                                             Account Number / CD #:           *******9852 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                                Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                             3                                                      4                                         5                      6                     7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)         Balance ($)
                                                                                  BALANCE FORWARD                                                                                                                0.00
          10/04/12                Trsf In From BANK OF AMERICA                    INITIAL WIRE TRANSFER IN                         9999-000                   29.41                                             29.41
          10/04/12                Trsf In From BANK OF AMERICA                    INITIAL WIRE TRANSFER IN                         9999-000               86,825.99                                       86,855.40
          12/17/12     010001     STEVEN A. GABOVITCH, CPA                        Final distribution allowed                       3410-000                                         1,425.00              85,430.40
                                  378 PAGE STREET, UNIT #3                        per order dated 12/14/12
                                  STOUGHTON, MA 02072
          12/17/12     010002     RIEMER & BRAUNSTEIN LLP                         Final distribution allowed                       3110-000                                     48,250.00                 37,180.40
                                  COUNSEL TO CHAPTER 7 TRUSTEE                    per order dated 12/14/12
                                  THREE CENTER PLAZA
                                  BOSTON, MA 02108
          12/17/12     010003     RIEMER & BRAUNSTEIN LLP                         Final distribution allowed                       3120-000                                         2,472.15              34,708.25
                                  COUNSEL TO CHAPTER 7 TRUSTEE                    per order dated 12/14/12
                                  THREE CENTER PLAZA
                                  BOSTON, MA 02108
          12/17/12     010004     JOSEPH BRAUNSTEIN, TRUSTEE                      Final distribution allowed                       2100-000                                         8,500.00              26,208.25
                                  RIEMER & BRAUNSTEIN LLP                         per order dated 12/14/12
                                  THREE CENTER PLAZA
                                  BOSTON MA 02108
          12/17/12     010005     JOSEPH BRAUNSTEIN, TRUSTEE                      Final distribution allowed                       2200-000                                          481.73               25,726.52
                                  RIEMER & BRAUNSTEIN LLP                         per order dated 12/14/12
                                  THREE CENTER PLAZA
                                  BOSTON MA 02108
          12/17/12     010006     MASSACHUSETTS DEPARTMENT OF                     Final distribution allowed                       6820-000                                          213.53               25,512.99
                                  REVENUE                                         per order dated 12/14/12
                                  BANKRUPTCY UNIT
                                  P.O. BOX 9564
                                  BOSTON, MA 02114
          12/17/12     010007     Mirick O'Connell DeMallie Lougee LLP            Final distribution allowed                       6710-000                                     17,853.56                  7,659.43
                                  100 Front Street                                per order dated 12/14/12
                                  Worcester, MA 01608

                                                                                                                             Page Subtotals               86,855.40                 79,195.97
                                                                                                                                                                                                           Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 46)
                                          Case 09-22502             Doc 532      Filed 03/22/13 Entered 03/22/13 10:16:54                                   Desc Main
                                                                                 Document FORM Page
                                                                                                 2 47 of 70                                                                                            Page:     2
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit 9
  Case No:             09-22502 -HJB                                                                                               Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                                   Bank Name:                       ASSOCIATED BANK
                                                                                                                                   Account Number / CD #:           *******9852 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                                      Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                             3                                                      4                                               5                       6                    7
    Transaction       Check or                                                                                                            Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                           Description Of Transaction               Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          12/17/12     010008     Cooley LLP                                      Final distribution allowed                             6710-000                                          3,085.66             4,573.77
                                  The Grace Bldg                                  per order dated 12/14/12
                                  1114 Avenue of the Americas
                                  New York, NY 10036
          12/17/12     010009     Mirick O'Connell Demallie Lougee LLP            Final distribution allowed                             6710-000                                          1,411.34             3,162.43
                                  100 Front Street                                per order dated 12/14/12
                                  Worcester, MA 01608
          12/17/12     010010     O'Connor Group                                  Final distribution allowed                             6700-000                                          2,785.48              376.95
                                  10 Sterns Road                                  per order dated 12/14/12
                                  Bedford, MA 01730
          12/17/12     010011     STATE OF CONNECTICUT                            Final distribution allowed                             6950-000                                           376.95                   0.00
                                  DEPARTMENT OF REVENUE SERVICES                  per order dated 12/14/12
                                  C&E DIVISION, BANKRUPTCY UNIT
                                  25 SIGOURNEY STREET
                                  HARTFORD, CT 06106-5032

                                                                                                               COLUMN TOTALS                                    86,855.40               86,855.40                     0.00
                                                                                                                   Less: Bank Transfers/CD's                    86,855.40                    0.00
                                                                                                               Subtotal                                              0.00               86,855.40
                                                                                                                   Less: Payments to Debtors                                                 0.00
                                                                                                               Net
                                                                                                                                                                     0.00               86,855.40




                                                                                                                                   Page Subtotals                        0.00               7,659.43
                                                                                                                                                                                                                Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 47)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 48 of 70                                                                                        Page:     3
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                       JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                          BANK OF AMERICA
                                                                                                                            Account Number / CD #:              *******4413 TIP Account
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):      $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                 4                                            5                         6                   7
     Transaction      Check or                                                                                                     Uniform                                                        Account / CD
        Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)         Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                0.00
          11/10/10        1       PAUL E. SAPERSTEIN CO., INC.                   sale of van                                      1129-000                   4,500.00                                      4,500.00
                                  144 CENTRE STREET
                                  HOLBROOK, MA 02343-1011
          11/30/10        2       BANK OF AMERICA                                Interest Rate 0.030                              1270-000                        0.06                                     4,500.06
          12/14/10                Transfer to Acct #*******4426                  Bank Funds Transfer                              9999-000                                            1,600.00             2,900.06
 *        12/30/10                Citadel Broadcasting Company                   refund check re: preference transfe              1241-003                   7,169.10                                     10,069.16
                                  7201 W. Lake Mead Blvd.                        rs
                                  Suite 400                                      letter dated 12/13/10
                                  Las Vegas, NV 89128
                                                                                 check returned 1/4/11 by Bank of America
                                                                                 re: endorsement
          12/30/10        3       New York Electric & Gas Corporation            refund check re: preference transfe              1241-000                   2,527.44                                     12,596.60
                                  P.O. Box 5240                                  rs
                                  Binghamton, NY 13902-5240                      letter dated 12/13/10
          12/31/10        2       BANK OF AMERICA                                Interest Rate 0.030                              1270-000                        0.09                                    12,596.69
 *        01/04/11                Citadel Broadcasting Company                   refund check re: preference transfe              1241-003                   -7,169.10                                     5,427.59
                                  7201 W. Lake Mead Blvd.                        check returned by Bank of America
                                  Suite 400                                      see original check re: endorsement
                                  Las Vegas, NV 89128
          01/26/11        5       Coalision                                      preference settlement check                      1241-000               30,000.00                                        35,427.59
                                  431 Pine Street
                                  Suite 301
                                  Burlington, VT 05401
          01/26/11        6       Rome Snowboards, Corp.                         preference settlement check                      1241-000               25,000.00                                        60,427.59
                                  P.O. Box 150
                                  Waterbury, VT 05676
          01/31/11        2       BANK OF AMERICA                                Interest Rate 0.050                              1270-000                        0.21                                    60,427.80
          02/01/11        4       Citadel Broadcasting Company                   preference transfer                              1241-000                   7,169.10                                     67,596.90
                                  7690 W. Cheyenne Ave

                                                                                                                            Page Subtotals               69,196.90                     1,600.00
                                                                                                                                                                                                           Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 48)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 49 of 70                                                                                      Page:     4
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                      JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                         BANK OF AMERICA
                                                                                                                            Account Number / CD #:             *******4413 TIP Account
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):     $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                  4                                          5                        6                  7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Sutie 220
                                  Las Vegas, NV 89129
          02/09/11                Transfer to Acct #*******4426                  Bank Funds Transfer                              9999-000                                           300.00             67,296.90
          02/10/11        7       Electric Visual Evolution, LLC                 preference settlement re:                        1241-000                   6,344.42                                   73,641.32
                                  General Account                                c Visual Evolution, LLC
                                  1062 Calle Negocio #H
                                  San Clemente, CA 92672
          02/10/11        8       Bern Unlimited                                 preference settlement re: Bern Unli              1241-000                   7,500.00                                   81,141.32
                                  351 Lakeshore Drive                            mited
                                  Duxbury, MA 02332
          02/10/11        9       G. Joannou Cycle Co., Inc.                     preference re: Jamis Bicycles                    1241-000                   3,334.00                                   84,475.32
                                  151 Ludlow Avenue
                                  Northvale, NJ 07647-2305
          02/24/11       10       G. Joannou Cycle Co., Inc.                     preference settlements                           1241-000                   3,333.00                                   87,808.32
                                  151 Ludlow Avenue
                                  Northvale, NJ 07647-2305
          02/28/11        2       BANK OF AMERICA                                INTEREST REC'D FROM BANK                         1270-000                        0.58                                  87,808.90
          03/21/11                Transfer to Acct #*******4426                  Bank Funds Transfer                              9999-000                                           800.00             87,008.90
          03/23/11       11       VF Services, Inc.                              preference settlement re: The North              1241-000                   5,000.00                                   92,008.90
                                  P.O. Box 20063                                 Face
                                  Greensboro, NC 27420-0063
          03/23/11       12       VF Services, Inc.                              preference settlement re: Vans, Inc              1241-000                   4,500.00                                   96,508.90
                                  P.O. Box 20063                                 .
                                  Greensboro, NC 27420-0063
          03/24/11        9       G. Joannou Cycle Co., Inc.                     Preference settlement re: Jamis Bic              1241-000                   3,333.00                                   99,841.90
                                  151 Ludlow Avenue                              ycles
                                  Northvale, NJ 07647-2305
          03/28/11       13       Mill Lane Management, Inc.                     preference settlement payment                    1241-000                   5,000.00                               104,841.90
                                  231 Willow Street                              Mill Lane Mgmt, Inc.
                                  Yarmouthport, MA 02675

                                                                                                                            Page Subtotals               38,345.00                   1,100.00
                                                                                                                                                                                                         Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 49)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 50 of 70                                                                                       Page:     5
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                      JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                         BANK OF AMERICA
                                                                                                                            Account Number / CD #:             *******4413 TIP Account
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):     $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                  4                                          5                        6                   7
    Transaction       Check or                                                                                                     Uniform                                                       Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
          03/31/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        0.76                               104,842.66
          04/19/11       14       Sackett Norwalk 490 LLC                        preference settlement re: Sackett                1241-000               17,500.00                                   122,342.66
                                  276 Post Road West                             Norwalk 490 LLC
                                  Suite 201
                                  Westport, CT 06880
          04/29/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        0.89                               122,343.55
          05/13/11       16       Broadview Networks, Inc.                       Preference Settlement re:                        1241-000                   4,491.20                                126,834.75
                                  500 Seventh Ave                                ew Networks, Inc.
                                  12th Floor
                                  New York, NY 10018
          05/13/11       15       CBS Radio                                      Preference Settlement pmt                        1241-000                   3,150.00                                129,984.75
                                  83 Leo Birmingham Parkway                      AM (CBS Radio)
                                  Boston, MA 02135
          05/31/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        1.07                               129,985.82
          06/03/11       17       Sport Obermeyer, Ltd.                          preference settlement re: Sport Obe              1241-000               10,000.00                                   139,985.82
                                  115 AABC                                       rmeyer
                                  Aspen, CO 81611
          06/30/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        1.13                               139,986.95
          07/29/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        1.18                               139,988.13
          08/31/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        1.20                               139,989.33
          09/08/11                Transfer to Acct #*******4426                  Bank Funds Transfer                              9999-000                                       51,466.60               88,522.73
          09/30/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        0.83                                   88,523.56
          10/31/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        0.75                                   88,524.31
          10/31/11                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                            112.78             88,411.53
          11/14/11                Transfer to Acct #*******4426                  Bank Funds Transfer                              9999-000                                            500.00             87,911.53
          11/30/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        0.72                                   87,912.25
          11/30/11                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                            108.65             87,803.60
          12/30/11        2       BANK OF AMERICA                                Interest Rate 0.010                              1270-000                        0.74                                   87,804.34
          12/30/11                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                            108.25             87,696.09


                                                                                                                            Page Subtotals               35,150.47                   52,296.28
                                                                                                                                                                                                          Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 50)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                            Desc Main
                                                                                Document FORM Page
                                                                                                2 51 of 70                                                                                     Page:     6
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             09-22502 -HJB                                                                                       Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                           Bank Name:                       BANK OF AMERICA
                                                                                                                           Account Number / CD #:           *******4413 TIP Account
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                              Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                             3                                                 4                                            5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          01/31/12        2       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.75                                  87,696.84
          01/31/12                BANK OF AMERICA                                BANK SERVICE FEE                                2600-000                                           115.01             87,581.83
          02/29/12        2       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.69                                  87,582.52
          02/29/12                BANK OF AMERICA                                BANK SERVICE FEE                                2600-000                                           104.09             87,478.43
          03/30/12        2       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.74                                  87,479.17
          03/30/12                BANK OF AMERICA                                BANK SERVICE FEE                                2600-000                                           107.56             87,371.61
          04/30/12        2       BANK OF AMERICA                                INTEREST REC'D FROM BANK                        1270-000                        0.72                                  87,372.33
          04/30/12                BANK OF AMERICA                                BANK SERVICE FEE                                2600-000                                           111.00             87,261.33
          05/31/12        2       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.74                                  87,262.07
          05/31/12                BANK OF AMERICA                                BANK SERVICE FEE                                2600-000                                           110.86             87,151.21
          06/29/12        2       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.71                                  87,151.92
          06/29/12                BANK OF AMERICA                                BANK SERVICE FEE                                2600-000                                           103.58             87,048.34
          07/31/12        2       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.74                                  87,049.08
          07/31/12                BANK OF AMERICA                                BANK SERVICE FEE                                2600-000                                           114.16             86,934.92
          08/31/12        2       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.74                                  86,935.66
          08/31/12                BANK OF AMERICA                                BANK SERVICE FEE                                2600-000                                           110.45             86,825.21
          09/28/12        2       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.70                                  86,825.91
          10/04/12        2       BANK OF AMERICA                                INTEREST REC'D FROM BANK                        1270-000                        0.08                                  86,825.99
          10/04/12                Trsf To ASSOCIATED BANK                        FINAL TRANSFER                                  9999-000                                       86,825.99                    0.00




                                                                                                                           Page Subtotals                        6.61              87,702.70
                                                                                                                                                                                                        Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 51)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                          Desc Main
                                                                                Document FORM Page
                                                                                                2 52 of 70                                                                                  Page:   7
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             09-22502 -HJB                                                                                     Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                         Bank Name:                       BANK OF AMERICA
                                                                                                                         Account Number / CD #:           *******4413 TIP Account
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                            Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                         Separate Bond (if applicable):


          1               2                             3                                            4                                               5                       6                  7
    Transaction       Check or                                                                                                  Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                                                                                     COLUMN TOTALS                                   142,698.98              142,698.98                 0.00
                                                                                                         Less: Bank Transfers/CD's                         0.00              141,492.59
                                                                                                     Subtotal                                        142,698.98                  1,206.39
                                                                                                         Less: Payments to Debtors                                                   0.00
                                                                                                     Net
                                                                                                                                                     142,698.98                  1,206.39




                                                                                                                         Page Subtotals                        0.00                  0.00
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 52)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                              Desc Main
                                                                                Document FORM Page
                                                                                                2 53 of 70                                                                                        Page:       8
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             09-22502 -HJB                                                                                         Trustee Name:                      JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                             Bank Name:                         BANK OF AMERICA
                                                                                                                             Account Number / CD #:             *******4426 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                                Blanket Bond (per case limit):     $ 35,750,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                              3                                                  4                                            5                        6                     7
    Transaction       Check or                                                                                                      Uniform                                                       Account / CD
       Date           Reference               Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)         Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                   0.00
          12/14/10                Transfer from Acct #*******4413                Bank Funds Transfer                               9999-000                   1,600.00                                       1,600.00
          12/14/10     001001     PAUL E. SAPERSTEIN CO., INC.                   AUCTIONEER FEES                                                                                      1,154.00                446.00
                                  144 CENTRE STREET                              and expenses allowed 12/13/10
                                  HOLBROOK, MA 02343-1011                        re: invoice #10-5113 dated 11/8/10
                                                                                         Fees                   450.00             3610-000
                                                                                         Expenses               704.00             3620-000
          02/09/11                Transfer from Acct #*******4413                Bank Funds Transfer                               9999-000                    300.00                                         746.00
          02/09/11     001002     ADP, Inc.                                      2010 W2 s invoice                                 6950-000                                            511.00                 235.00
                                  P.O. Box 12513                                 account #451152 dtd 1/31/11
                                  1851 Resler Drive                              product #10 Co. Code WUG
                                  El Paso, TX 79912

                                  Attn: W2 Processing
          03/21/11                Transfer from Acct #*******4413                Bank Funds Transfer                               9999-000                    800.00                                        1,035.00
          03/21/11     001003     Garvey Cape Cod Storate Trailer                storage fees                                      2690-000                                            807.52                 227.48
                                  2 Water St                                     Inv#488, 512, 537, 562 through
                                  Holbrook, MA 02343                             April 2, 2011
          05/04/11     001004     Clerk of the                                   digital copy of hearing cost                      2690-000                                             26.00                 201.48
                                  United States Bankruptcy Court
                                  300 State Street
                                  Springfield, MA 01105
          08/05/11     001005     INTERNATIONAL SURETIES, LTD.                   #016027600 Blanket Bond                           2300-000                                            118.81                     82.67
                                  701 POYDRAS ST.                                Term: 8/1/11 thru 8/1/12
                                  SUITE 420
                                  NEW ORLEANS, LA 70139
          09/08/11                Transfer from Acct #*******4413                Bank Funds Transfer                               9999-000               51,466.60                                         51,549.27
          09/08/11     001006     Mirick, O'Connell, Demallie &                  fees and expenses                                                                                51,466.60                       82.67
                                  Lougee, LLP                                    allowed per order


                                                                                                                             Page Subtotals               54,166.60                   54,083.93
                                                                                                                                                                                                             Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 53)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 54 of 70                                                                                    Page:      9
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******4426 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                 4                                            5                      6                     7
    Transaction       Check or                                                                                                     Uniform                                                   Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)       Balance ($)
                                                                                 dated 8/23/11
                                                                                 Special Counsel to the Chapter 7 Trustee
                                                                                 First and Final Application for
                                                                                 Allowanace of Compensation and
                                                                                 reimbursement of expenses
                                                                                 for the period of 8/30/10-- 6/28/11
                                                                                 inclusive
                                                                                        Fees                   46,060.72          3210-000
                                                                                        Expenses               5,405.88           3220-000
          10/31/11                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                          33.95                    48.72
          11/14/11                Transfer from Acct #*******4413                Bank Funds Transfer                              9999-000                   500.00                                       548.72
          11/14/11     001007     Commonwealth of MA                             TX ID #XX-XXXXXXX                                2820-000                                         456.00                    92.72
                                  Mass Dept of Revenue                           ELECTRONICLY FILED
                                  Legal Bureau-- Bankruptcy Unit
                                  P.O. Box 9564
                                  Boston, MA 02114-9564
          11/30/11                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.24                    92.48
          12/30/11                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.11                    92.37
          01/31/12                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.12                    92.25
          02/29/12                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.11                    92.14
          03/30/12                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.11                    92.03
          04/30/12                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.12                    91.91
          05/31/12                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.12                    91.79
          06/29/12                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.11                    91.68
          07/31/12                BANK OF AMERICA                                BANK SERVICE FEE                                 2600-000                                           0.12                    91.56
          08/09/12     001008     INTERNATIONAL SURETIES, LTD.                   #016027600 Blanket Bond                          2300-000                                          62.08                    29.48
                                  701 POYDRAS ST.                                Term: 8/1/12 hru 8/1/13
                                  SUITE 420
                                  NEW ORLEANS, LA 70139


                                                                                                                            Page Subtotals                   500.00                553.19
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 54)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                           Desc Main
                                                                                Document FORM Page
                                                                                                2 55 of 70                                                                                  Page:      10
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             09-22502 -HJB                                                                                      Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                          Bank Name:                       BANK OF AMERICA
                                                                                                                          Account Number / CD #:           *******4426 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                             Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                             3                                             4                                               5                       6                    7
    Transaction       Check or                                                                                                   Uniform                                                    Account / CD
       Date           Reference               Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
          08/31/12                BANK OF AMERICA                                BANK SERVICE FEE                               2600-000                                            0.07                 29.41
          10/04/12                Trsf To ASSOCIATED BANK                        FINAL TRANSFER                                 9999-000                                           29.41                    0.00

                                                                                                      COLUMN TOTALS                                    54,666.60               54,666.60                     0.00
                                                                                                          Less: Bank Transfers/CD's                    54,666.60                   29.41
                                                                                                      Subtotal                                              0.00               54,637.19
                                                                                                          Less: Payments to Debtors                                                 0.00
                                                                                                      Net
                                                                                                                                                            0.00               54,637.19




                                                                                                                          Page Subtotals                        0.00                29.48
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 55)
                                          Case 09-22502               Doc 532   Filed 03/22/13 Entered 03/22/13 10:16:54                               Desc Main
                                                                                Document FORM Page
                                                                                                2 56 of 70                                                                                       Page:     11
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             09-22502 -HJB                                                                                          Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                              Bank Name:                       BANK OF AMERICA
                                                                                                                              Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                                 Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                              3                                                 4                                              5                      6                     7
    Transaction       Check or                                                                                                       Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction           Tran. Code       Deposits ($)       Disbursements ($)         Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                0.00
          12/12/11                BANK OF AMERICA                                BANK SERVICE FEE                                   2600-000                                           10.00                -10.00
          12/13/11                WIRE TRANSFER                                  wire transfer received for GUC dst.                1180-000              300,000.00                                   299,990.00
          12/14/11     200001     JOSEPH BRAUNSTEIN, TRUSTEE                     ATTORNEY FEES                                      3991-000                                     29,000.00             270,990.00
                                  RIEMER & BRAUNSTEIN LLP
                                  THREE CENTER PLAZA
                                  BOSTON MA 02108
          12/19/11                Bank of America                                Fee Reversal                                       2600-000                   10.00                                   271,000.00
                                                                                 Fee charged 12/12/11 and reversed 12/14/11
          12/21/11     200002     ROBERT FICHTEL DESIGN                          GUC - Final                                        7100-000                                         1,320.25          269,679.75
                                  P.O. BOX 531
                                  ASHBURNHAM, MA 01430
          12/21/11     200003     Jefferson Shrewsbury Limited Partnership       GUC - Final                                        7100-000                                         1,871.46          267,808.29
                                  STEPHEN J. ALLARD, ESQ.
                                  KENNETH KREMS, ESQ.
                                  SHAEVEL AND KREMS
                                  141 TREMONT STREET
                                  BOSTON, MA 02111
          12/21/11     200004     JAMES CONNIFF                                  GUC - Final                                        7100-000                                         1,168.11          266,640.18
                                  BACALL & CONNIFF
                                  111 STATE STREET
                                  BOSTON, MA 02109
          12/21/11     200005     COFACE NORTH AMERICA, INC.                     GUC - Final                                        7100-000                                         2,189.32          264,450.86
                                  50 MILLSTONE ROAD
                                  BLDG 100, SUITE 360
                                  EAST WINDSOR, NJ 08520
          12/21/11     200006     THE CONNECTICUT LIGHT & POWER COMPA            GUC - Final                                        7100-000                                             5.82          264,445.04
                                  NORTHEAST UTILITIES, CREDIT &
                                  COLLECTION
                                  PO BOX 2899

                                                                                                                              Page Subtotals              300,010.00                 35,564.96
                                                                                                                                                                                                           Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 56)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 57 of 70                                                                                      Page:    12
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  HARTFORD, CT 06101-8307
          12/21/11     200007     SACKETT NORWALK 490, LLC                       GUC - Final                                      7100-000                                          2,139.10         262,305.94
                                  C/O MENTER, RUDIN & TRIVELPIECE, P.C.
                                  ATTN: KEVIN M. NEWMAN, ESQ.
                                  308 MALTBIE STREET, SUITE 200
                                  SYACUSE, NY 13204-1498
          12/21/11     200008     SACKETT NORWALK 490, LLC                       GUC - Final                                      7100-000                                       12,742.04           249,563.90
                                  C/O MENTER, RUDIN & TRIVELPIECE, P.C.
                                  ATTN: KEVIN M. NEWMAN, ESQ.
                                  308 MALTBIE STREET, SUITE 200
                                  SYACUSE, NY 13204-1498
          12/21/11     200009     RUFFALO ENTERPRISES                            GUC - Final                                      7100-000                                           142.98          249,420.92
                                  2926 75TH STREET
                                  KENOSHA, WA 53143
          12/21/11     200010     CITADEL BROADCASTING COMPANY                   GUC - Final                                      7100-000                                          1,135.31         248,285.61
                                  50 JAMES E. CASEY DRIVE
                                  BUFFALO, NY 14206
          12/21/11     200011     RAYMARK XPERT BUSINESS SYSTEM                  GUC - Final                                      7100-000                                           168.55          248,117.06
                                  800 DECOSIE
                                  SUITE 200
                                  MONTREAL, QUEBEC H4P 254
                                  CANADA
          12/21/11     200012     PITNEY BOWES INC                               GUC - Final                                      7100-000                                           178.78          247,938.28
                                  27 WATERVIEW DR
                                  SHELTON CT 06484
          12/21/11     200013     SAMSUNG AMERICA, INC.                          GUC - Final                                      7100-000                                           267.11          247,671.17
                                  1430 BROADWAY 22ND FL.
                                  NEW YORK, NY 10018
          12/21/11     200014     CONNECTICUT LIGHT & POWER                      GUC - Final                                      7100-000                                            48.13          247,623.04
                                  NORTHEAST UTILITIES/CREDIT &

                                                                                                                            Page Subtotals                        0.00              16,822.00
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 57)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 58 of 70                                                                                      Page:    13
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  COLLECTION
                                  PO BOX 2899
                                  HARTFORD, CT 06101-8307
          12/21/11     200015     BONNIER CORPORATION                            GUC - Final                                      7100-000                                          5,031.51         242,591.53
                                  460 N ORLANDO AVE., STE. #200
                                  WINTER PARK, FL 32789
          12/21/11     200016     SMARTWOOL                                      GUC - Final                                      7100-000                                          3,353.22         239,238.31
                                  P.O. BOX 774928
                                  STEAMBOAT SPRINGS, CO 80201
          12/21/11     200017     NEW ENGLAND MOTOR FREIGHT, INC.                GUC - Final                                      7100-000                                            55.16          239,183.15
                                  1-71 NORTH AVENUE EAST
                                  ELIZABETH, NJ 07207
          12/21/11     200018     RYDER TRUCK RENTAL, INC.                       GUC - Final                                      7100-000                                          1,321.39         237,861.76
                                  ATTN: JENNIFER MORRIS
                                  6000 WINDWARD PARKWAY
                                  ALPHARETTA, GA 30005
          12/21/11     200019     RYDER TRUCK RENTAL, INC.                       GUC - Final                                      7100-000                                           382.64          237,479.12
                                  ATTN: JENNIFER MORRIS
                                  6000 WINDWARD PARKWAY
                                  ALPHARETTA, GA 30005
          12/21/11     200020     HOTRONICS                                      GUC - Final                                      7100-000                                           904.09          236,575.03
                                  P.O. BOX 908
                                  WILLISTON, VT 05495
          12/21/11     200021     YRC, INC.                                      GUC - Final                                      7100-000                                           257.47          236,317.56
                                  C/O RMS BANKRUPTCY RECOVERY SERVICES
                                  PO BOX 5126
                                  TIMONIUM, MD 21094
          12/21/11     200022     INTERCALL                                      GUC - Final                                      7100-000                                            20.16          236,297.40
                                  ATTN: MELODY LOHR
                                  11808 MIRACLE HILLS DR.

                                                                                                                            Page Subtotals                        0.00              11,325.64
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 58)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 59 of 70                                                                                      Page:    14
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  OMAHA, NE 68154
          12/21/11     200023     CREDITORS ADJUSTMENT BUREAU, INC.              GUC - Final                                      7100-000                                           537.24          235,760.16
                                  ASSIGNEE OF NHS INC.
                                  PO BOX 5932
                                  SHERMAN OAKS, CA 91413
          12/21/11     200024     FREEPORT MERCHANTS ASSOCIATION                 GUC - Final                                      7100-000                                           152.62          235,607.54
                                  P.O. BOX 452
                                  23 DEPOT STREET
                                  FREEPORT, ME 04032
          12/21/11     200025     NISCAYAH, INC.                                 GUC - Final                                      7100-000                                           121.81          235,485.73
                                  2400 COMMERCE AVE., BLDG. 1100, SUITE 50
                                  DULUTH, GA 30096
          12/21/11     200026     MARKER VOLKL USA, INC.                         GUC - Final                                      7100-000                                       11,773.37           223,712.36
                                  ATTN: R.A. JAMES - CREDIT
                                  1405 WEST 2200 SOUTH
                                  SUITE 100
                                  SALT LAKE CITY, UT 84119
          12/21/11     200027     WOOLY BULLY WEAR                               GUC - Final                                      7100-000                                           826.31          222,886.05
                                  2530 WEST BARBERRY PLACE
                                  DENVER, CO 80204
          12/21/11     200028     PARIS REALTY CORPORATION                       GUC - Final                                      7100-000                                       14,364.82           208,521.23
                                  C/O DOUGLAS J. EMANUEL
                                  CHACE RUTTENBERG & FREEDMAN, LLP
                                  ONE PARK ROW, SUITE 300
                                  PROVIDENCE, RI 02903
          12/21/11     200029     SKULLCANDY                                     GUC - Final                                      7100-000                                           253.86          208,267.37
                                  1441 WEST UTE BOULEVARD
                                  SUITE 250
                                  PARK CITY, UT 84098
          12/21/11     200030     JUPA SPORTS                                    GUC - Final                                      7100-000                                          2,520.14         205,747.23

                                                                                                                            Page Subtotals                        0.00              30,550.17
                                                                                                                                                                                                         Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 59)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 60 of 70                                                                                      Page:    15
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  9600 MEILLEUR SUITE 610
                                  MONTREAL, QC H2N 2E3
          12/21/11     200031     TOTAL FACILITIES SERVICES                      GUC - Final                                      7100-000                                            45.08          205,702.15
                                  10 LEIN ROAD
                                  WEST SENECA, NY 14224
          12/21/11     200032     NSTAR ELECTRIC & GAS                           GUC - Final                                      7100-000                                           278.63          205,423.52
                                  ONE STAR WAY
                                  WESTWOOD, MA 02090
          12/21/11     200033     CON EDISON SOLUTIONS                           GUC - Final                                      7100-000                                           619.24          204,804.28
                                  C/O DONIYELL L. CURTIS
                                  100 SUMMIT LAKE DR., SUITE 410
                                  VALHALLA, NY 10595
          12/21/11     200034     PENGUIN BRANDS, INC.                           GUC - Final                                      7100-000                                            76.10          204,728.18
                                  2009 ELMWOOD AVENUE
                                  SHARON HILL, PA 19079
          12/21/11     200035     RUBEL BIKE MAPS                                GUC - Final                                      7100-000                                            30.32          204,697.86
                                  P.O. BOX 401035
                                  CAMBRIDGE, MA 02140
          12/21/11     200036     NATIONAL GRID                                  GUC - Final                                      7100-000                                           315.14          204,382.72
                                  300 ERIE BLVD., WEST
                                  SYRACUSE, NY 13202
          12/21/11     200037     BRANDBASE, INC.                                GUC - Final                                      7100-000                                           305.44          204,077.28
                                  C/O COMMERCIAL COLLECTION SOLUTIONS,
                                  INC
                                  PO BOX 4156
                                  SEAL BEACH, CA 90740
          12/21/11     200038     SPYDER ACTIVE SPORTS, INC.                     GUC - Final                                      7100-000                                          1,794.30         202,282.98
                                  C/O COMMERCIAL COLLECTION SOLUTIONS,
                                  INC
                                  PO BOX 4156

                                                                                                                            Page Subtotals                        0.00               3,464.25
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 60)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 61 of 70                                                                                      Page:    16
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  SEAL BEACH, CA 90740
          12/21/11     200039     RALEIGH AMERICA, INC.                          GUC - Final                                      7100-000                                          7,290.08         194,992.90
                                  C/O COMMERCIAL COLLECTION SOLUTIONS,
                                  INC
                                  PO BOX 4156
                                  SEAL BEACH, CA 90740
          12/21/11     200040     WGW EVENTS, LLC/DBA TGR TOUR                   GUC - Final                                      7100-000                                           106.35          194,886.55
                                  PO BOX451
                                  TETON VILLAGE, WY 83025
          12/21/11     200041     PAUL F. TETREAULT                              GUC - Final                                      7100-000                                           376.70          194,509.85
                                  PRESIDENT, SNOW SPORTS, INC.
                                  41 AUNT DEBBYS ROAD
                                  DENNISPORT, MA 02639
          12/21/11     200042     BERN UNLIMITED                                 GUC - Final                                      7100-000                                          2,322.58         192,187.27
                                  P.O. BOX 1284
                                  DUXBURY, MA 02331
          12/21/11     200043     PRIMA IV LLC                                   GUC - Final                                      7100-000                                          1,611.38         190,575.89
                                  P.O. BOX 414824
                                  BOSTON, MA 02241-4824
          12/21/11     200044     LEKI                                           GUC - Final                                      7100-000                                          1,924.73         188,651.16
                                  458 SNOWIL DRIVE
                                  BUFFALO, NY 14225
          12/21/11     200045     ABF FREIGHT SYSTEMS, INC.                      GUC - Final                                      7100-000                                           363.64          188,287.52
                                  P.O. BOX 10048
                                  FORT SMITH, AR 72917-0048
          12/21/11     200046     KIMCO REALTY CORP.                             GUC - Final                                      7100-000                                          2,544.74         185,742.78
                                  SUSAN MASONE
                                  3333 NEW HYDE PARK RD.
                                  NEW HYDE PARK, NY 11042
          12/21/11     200047     BAY STATE GAS COMPANY                          GUC - Final                                      7100-000                                            40.33          185,702.45

                                                                                                                            Page Subtotals                        0.00              16,580.53
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 61)
                                          Case 09-22502                Doc 532   Filed 03/22/13 Entered 03/22/13 10:16:54                            Desc Main
                                                                                 Document FORM Page
                                                                                                 2 62 of 70                                                                                     Page:    17
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  PO BOX 2025
                                  SPRINGFIELD, MA 01102-2025
          12/21/11     200048     NEW YORK STATE DEPARTMENT OF                   GUC - Final                                      7100-000                                           278.28          185,424.17
                                  TAXATION AND FINANCE
                                  PO BOX 5300
                                  ALBANY, NY 12205-0300
          12/21/11     200049     NORTHWAVE NORTH AMERICA, INC.                  GUC - Final                                      7100-000                                          1,776.71         183,647.46
                                  C/O COMMERCIAL COLLECTION SOLUTIONS,
                                  INC
                                  PO BOX 4156
                                  SEAL BEACH, CA 90740
          12/21/11     200050     VERMONT SKI SAFETY EQUIPMENT                   GUC - Final                                      7100-000                                            36.58          183,610.88
                                  P.O. BOX 85
                                  UNDERHILL CENTER, VT 05490
          12/21/11     200051     VERIZON                                        GUC - Final                                      7100-000                                           145.99          183,464.89
                                  PO BOX 3037
                                  BLOOMINGTON, IL 61702
          12/21/11     200052     WGW EVENTS, LLC/DBA TGR TOUR                   GUC - Final                                      7100-000                                           106.35          183,358.54
                                  PO BOX451
                                  TETON VILLAGE, WY 83025
          12/21/11     200053     STAPLES, INC.                                  GUC - Final                                      7100-000                                           311.05          183,047.49
                                  300 ARBOR LAKE DRIVE
                                  COLUMBIA, SC 29223
          12/21/11     200054     THE NORTH FACE                                 GUC - Final                                      7100-000                                          2,315.99         180,731.50
                                  PO BOX 1817
                                  APPLETON, WI 54912-1817
          12/21/11     200055     National Union Fire Insurance                  GUC - Final                                      7100-000                                       22,674.87           158,056.63
                                  Company of Pittsburg, PA
                                  c/o SilvermanACampora, LLP
                                  100 Jericho, Quadrangle, Suite 300

                                                                                                                            Page Subtotals                        0.00              27,645.82
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 62)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 63 of 70                                                                                      Page:    18
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Jericho, New York 11753
                                  Attn: Adam L. Rosen, Wsq.
          12/21/11     200056     860-872 COMMONWEALTH AVENUE TRUST              GUC - Final                                      7100-000                                       20,977.45           137,079.18
                                  C/O LOUIS J. GROSSMAN
                                  THE GROSSMAN COMPANIES, INC.
                                  1266 FURNANCE BROOK PKWY - SUITE 100
                                  QUINCY, MA 02169-4777
          12/21/11     200057     MECHANICAL ALLIANCE SERVICE                    GUC - Final                                      7100-000                                           231.80          136,847.38
                                  523 GREAT ROAD
                                  LITTLETON, MA 01460
          12/21/11     200058     WHIP COPY PRODUCTS                             GUC - Final                                      7100-000                                            17.98          136,829.40
                                  12 SHTTUCK STREET
                                  NATICK, MA 01760-2136
          12/21/11     200059     SWIX                                           GUC - Final                                      7100-000                                          1,360.66         135,468.74
                                  600 RESEARCH DR.
                                  WILMINGTON, MA 01887
          12/21/11     200060     JAMIS BICYCLES                                 GUC - Final                                      7100-000                                          1,633.09         133,835.65
                                  151 LUDLOW AVENUE
                                  NORTHVALE, NJ 07647
          12/21/11     200061     VOX                                            GUC - Final                                      7100-000                                            95.37          133,740.28
                                  3131 SCOTT STREET
                                  VISTA, CA 92081
          12/21/11     200062     ROSS EXPRESS                                   GUC - Final                                      7100-000                                              4.74         133,735.54
                                  P.O. BOX 8908
                                  PENACOOK, NH 03303-8908
          12/21/11     200063     DAKINE                                         GUC - Final                                      7100-000                                           924.96          132,810.58
                                  408 COLUMBIA ROAD, #300
                                  HOOD RIVER, OR 97031
          12/21/11     200064     THULE                                          GUC - Final                                      7100-000                                           418.87          132,391.71
                                  42 SILVERMINE ROAD

                                                                                                                            Page Subtotals                        0.00              25,664.92
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 63)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 64 of 70                                                                                      Page:    19
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  SEYMOUR, CT 06483
          12/21/11     200065     TOWN OF WELLESLEY                              GUC - Final                                      7100-000                                              7.99         132,383.72
                                  TREASURER/COLLECTOR
                                  525 WASHINGTON STREET
                                  WELLESLEY, MA 02482
          12/21/11     200066     MONTANA SPORT NORTH AMERICA, I                 GUC - Final                                      7100-000                                            53.18          132,330.54
                                  8 FEDERAL WAY
                                  GROVELAND, MA 01834
          12/21/11     200067     AAA FIRE EXTINGUISHER COMPANY                  GUC - Final                                      7100-000                                              6.06         132,324.48
                                  328 RODMAN ROAD
                                  P.O. BOX 1003
                                  AUBURN, MA 04211-1003
          12/21/11     200068     ROME SNOWBOARD CORP.                           GUC - Final                                      7100-000                                          7,361.61         124,962.87
                                  P.O. BOX 150
                                  WATERBURY, VT 05676
          12/21/11     200069     OAKLEY                                         GUC - Final                                      7100-000                                          4,815.55         120,147.32
                                  1 ICON
                                  FOOTHILL RANCH, CA 92610
          12/21/11     200070     WINTERSTEIGER, INC.                            GUC - Final                                      7100-000                                          1,454.45         118,692.87
                                  4705 AMELIA EARHART DRIVE
                                  SALT LAKE CITY, UT 84116-2876
          12/21/11     200071     R.K. ASSOCIATES, INC.                          GUC - Final                                      7100-000                                          5,097.53         113,595.34
                                  P.O. BOX 111
                                  DEDHAM, MA 02027-0111
          12/21/11     200072     MARKER LTD.                                    GUC - Final                                      7100-000                                          6,902.76         106,692.58
                                  2321 CIRCADIAN WAY
                                  SANTA ROSA
                                  CA 95407
          12/21/11     200073     FOUR SQUARE ASSOCIATES LLC                     GUC - Final                                      7100-000                                          2,818.32         103,874.26
                                  C/O KARL FLEISCHMANN, ESQ.

                                                                                                                            Page Subtotals                        0.00              28,517.45
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 64)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 65 of 70                                                                                      Page:     20
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  6 SYCAMORE LANE
                                  WEST HARTFORD, CT 06117-2840
          12/21/11     200074     TOWN OF WELLESLEY                              GUC - Final                                      7100-000                                           151.88          103,722.38
                                  455 WORCESTER STREET
                                  P.O. BOX 9187
                                  WELLESLEY HILLS, MA 02481-9187
          12/21/11     200075     SUPERMEDIA LLC                                 GUC - Final                                      7100-000                                           318.03          103,404.35
                                  5601 EXECUTIVE DRIVE
                                  IRVING, TX 75038
          12/21/11     200076     OUTDOOR RECREATION GROUP                       GUC - Final                                      7100-000                                            51.78          103,352.57
                                  1919 VINEBURN AVENUE
                                  LOS ANGELES, CA 90032
          12/21/11     200077     SUPERFEET                                      GUC - Final                                      7100-000                                           314.75          103,037.82
                                  1419 WHITEHORN STREET
                                  FERNDALE, WA 98248
          12/21/11     200078     NORDICA                                        GUC - Final                                      7100-000                                       10,382.48               92,655.34
                                  19 TECHNOLOGY DRIVE
                                  WEST LEBANON, NH 03784
          12/21/11     200079     SUTHERLAND'S                                   GUC - Final                                      7100-000                                            84.16              92,571.18
                                  P.O. BOX 9061
                                  BERKELEY, CA 94709
          12/21/11     200080     FOUR STAR DISTRIBUTION                         GUC - Final                                      7100-000                                           201.77              92,369.41
                                  1211 PUERTA DEL SOL
                                  SUITE 170
                                  SAN CLEMENTE, CA 92673
          12/21/11     200081     GARVEY TRANSPORT, INC.                         GUC - Final                                      7100-000                                           150.59              92,218.82
                                  2 WATER STREET
                                  HOLBROOK, MA 02343
          12/21/11     200082     GERARD F. FORTON, ESQUIRE                      GUC - Final                                      7100-000                                          5,199.68             87,019.14
                                  FORTON & FORTON

                                                                                                                            Page Subtotals                        0.00              16,855.12
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 65)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 66 of 70                                                                                      Page:     21
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
     Transaction      Check or                                                                                                     Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  361 DELAWARE AVENUE
                                  BUFFALO, NEW YORK 14202
          12/21/11     200083     NATIONAL GRID                                  GUC - Final                                      7100-000                                            36.78              86,982.36
                                  300 ERIE BLVD., WEST
                                  SYRACUSE, NY 13202
          12/21/11     200084     SMITH OPTICS, INC.                             GUC - Final                                      7100-000                                          7,802.72             79,179.64
                                  P.O. BOX 2999
                                  KETCHUM, ID 83340
          12/21/11     200085     K-2 CORPORATION                                GUC - Final                                      7100-000                                       32,847.22               46,332.42
                                  4201 SIXTH AVENUE SOUTH
                                  SEATTLE, WA 98108
          12/21/11     200086     THE BUFFALO NEWS, A DIVISION OF OBH            GUC - Final                                      7100-000                                           682.26              45,650.16
                                  C/O GETMAN & BIRYLA, LLP
                                  800 RAND BUILDING
                                  14 LAFAYETTE SQUARE
                                  BUFFALO, NEW YORK 14203-1995
          12/21/11     200087     FLOW SPORTS                                    GUC - Final                                      7100-000                                           551.08              45,099.08
                                  C/O ADVENTURE SPORTS, INC.
                                  8800 NW 13TH TERRACE, UNIT 103
                                  MIAMI, FL 33172
          12/21/11     200088     NEW ENGLAND MECHANICAL                         GUC - Final                                      7100-000                                            17.47              45,081.61
                                  P.O. BOX 31711
                                  HARTFORD, CT 06150-1711
 *        12/21/11     200089     DC SHOES                                       GUC - Final                                      7100-004                                          1,367.04             43,714.57
                                  1333 KEYSTONE WAY
                                  VISTA, CA 92081
          12/21/11     200090     TECNICA                                        GUC - Final                                      7100-000                                          6,955.50             36,759.07
                                  19 TECHNOLOGY DRIVE
                                  WEST LEBANON, NH 03784
          12/21/11     200091     NITRO                                          GUC - Final                                      7100-000                                           886.48              35,872.59

                                                                                                                            Page Subtotals                        0.00              51,146.55
                                                                                                                                                                                                          Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 66)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                Document FORM Page
                                                                                                2 67 of 70                                                                                      Page:     22
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                        Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                            Bank Name:                       BANK OF AMERICA
                                                                                                                            Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                               Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                       6                    7
     Transaction      Check or                                                                                                     Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  19 TECHNOLOGY DRIVE
                                  WEST LEBANON, NH 03787
          12/21/11     200092     MILL LANE MANAGEMENT                           GUC - Final                                      7100-000                                          6,934.18             28,938.41
                                  231 WILLOW ST
                                  YARMOUTHPORT, MA 02675
          12/21/11     200093     NSTAR ELECTRIC & GAS                           GUC - Final                                      7100-000                                            91.60              28,846.81
                                  ONE STAR WAY
                                  WESTWOOD, MA 02090
 *        12/21/11     200094     PEARL IZUMI                                    GUC - Final                                      7100-004                                           546.81              28,300.00
                                  1886 PRAIRIE WAY
                                  LOUISVILLE, CO 80027
          12/21/11     200095     NYSEG                                          GUC - Final                                      7100-000                                           134.40              28,165.60
                                  ATTN:BTCY DEPT
                                  PO BOX 5240
                                  BINGHAMTON NY 13902
          12/21/11     200096     KENNETH MANN & SANDRA MANN                     GUC - Final                                      7100-000                                          3,578.80             24,586.80
                                  2 MANW RD.
                                  FREEPORT, ME
          12/21/11     200097     MARIN BICYCLES                                 GUC - Final                                      7100-000                                          5,687.35             18,899.45
                                  265 BEL MARIN KEYS
                                  NOVATO, CA 94949
          12/21/11     200098     TOWN FAIR TIRE CENTERS, INC.                   GUC - Final                                      7100-000                                       13,418.32                5,481.13
                                  460 COE AVENUE
                                  EAST HAVEN, CT, 06512
          12/21/11     200099     C&A REALTY TRUST                               GUC - Final                                      7100-000                                          1,548.02              3,933.11
                                  C/O PETER D. BILOWZ, ESQ.
                                  GOULSTON & STORRS, P.C.
                                  400 ATLANTIC AVENUE
                                  BOSTON, MA 02110-3333
          12/21/11     200100     NANOFILM                                       GUC - Final                                      7100-000                                            48.67               3,884.44

                                                                                                                            Page Subtotals                        0.00              31,988.15
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 67)
                                          Case 09-22502              Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                             Desc Main
                                                                                 Document FORM Page
                                                                                                 2 68 of 70                                                                                      Page:    23
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             09-22502 -HJB                                                                                         Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                             Bank Name:                       BANK OF AMERICA
                                                                                                                             Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                                Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                 4                                            5                       6                    7
     Transaction      Check or                                                                                                      Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  10111 SWEET VALLEY DRIVE
                                  VALLEY VIEW, OH 44125
          12/21/11     200101     SACKETT NORWALK 490, LLC                        GUC - Final                                      7100-000                                            930.58             2,953.86
                                  C/O MENTER, RUDIN & TRIVELPIECE, P.C.
                                  ATTN: KEVIN M. NEWMAN, ESQ.
                                  308 MALTBIE STREET, SUITE 200
                                  SYACUSE, NY 13204-1498
          12/21/11     200102     Sport Obermyer, Ltd.                            GUC - Final                                      7100-000                                            531.77             2,422.09
                                  c/o Joseph S.U. Bodoff
                                  Bodoff & associates, P.C.
                                  120 Water Street
                                  Boston, MA 02109
          01/31/12                BANK OF AMERICA                                 BANK SERVICE FEE                                 2600-000                                            113.45             2,308.64
          02/29/12                BANK OF AMERICA                                 BANK SERVICE FEE                                 2600-000                                              6.45             2,302.19
          03/30/12                BANK OF AMERICA                                 BANK SERVICE FEE                                 2600-000                                              5.18             2,297.01
 *        04/11/12     200089     DC SHOES                                        Stop Payment Reversal                            7100-004                                          -1,367.04            3,664.05
                                  1333 KEYSTONE WAY                               STOP PAY ADD SUCCESSFUL
                                  VISTA, CA 92081
 *        04/11/12     200094     PEARL IZUMI                                     Stop Payment Reversal                            7100-004                                           -546.81             4,210.86
                                  1886 PRAIRIE WAY                                STOP PAY ADD SUCCESSFUL
                                  LOUISVILLE, CO 80027
          04/30/12                BANK OF AMERICA                                 BANK SERVICE FEE                                 2600-000                                              5.35             4,205.51
          05/31/12                BANK OF AMERICA                                 BANK SERVICE FEE                                 2600-000                                              5.34             4,200.17
          06/29/12                BANK OF AMERICA                                 BANK SERVICE FEE                                 2600-000                                              4.99             4,195.18
          07/31/12                BANK OF AMERICA                                 BANK SERVICE FEE                                 2600-000                                              5.50             4,189.68
          08/10/12     200103     United States Bankruptcy Court                  unclaimed funds/Pearl Izumi                      7100-000                                            546.81             3,642.87
                                  J.W. McCormack Post Office & Court House        original ck #200094
                                  5 Post Office Square, Suite 1150                Pearl Izumi
                                  Boston, MA 02109                                Pearl Izumi


                                                                                                                             Page Subtotals                        0.00                 241.57
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 68)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                                   Desc Main
                                                                                Document FORM Page
                                                                                                2 69 of 70                                                                                                    Page:      24
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                            Exhibit 9
  Case No:             09-22502 -HJB                                                                                             Trustee Name:                       JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                                 Bank Name:                          BANK OF AMERICA
                                                                                                                                 Account Number / CD #:              *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                                    Blanket Bond (per case limit):      $ 35,750,000.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                             3                                                   4                                                  5                          6                         7
    Transaction       Check or                                                                                                          Uniform                                                               Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction               Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                 1886 Prarie Way
                                                                                 Louisville, CO 80027
          08/10/12     200104     United States Bankruptcy Court                 unclaimed funds/D.C. Shoes                            7100-000                                               1,367.04                  2,275.83
                                  J.W. McCormack Post Office & Court House       original ck#200089
                                  5 Post Office Square, Suite 1150               D.C. Shoes
                                  Boston, MA 02109                               1333 Keystone Way
                                                                                 Vista, CA 92081
          08/10/12     200105     JOSEPH BRAUNSTEIN, TRUSTEE                     Expenses per order                                    3992-000                                               2,275.83                        0.00
                                  RIEMER & BRAUNSTEIN LLP                        dated 12/8/11
                                  THREE CENTER PLAZA                             RE: GUC Trust
                                  BOSTON MA 02108

                                                                                                            COLUMN TOTALS                                     300,010.00                  300,010.00                           0.00
                                                                                                                Less: Bank Transfers/CD's                           0.00                        0.00
                                                                                                            Subtotal                                          300,010.00              300,010.00
                                                                                                                Less: Payments to Debtors                                                   0.00
                                                                                                            Net
                                                                                                                                                              300,010.00              300,010.00
                                                                                                                                                                                     NET                             ACCOUNT
                                                                                                             TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                        Checking - Non Interest - ********9852                          0.00                 86,855.40                         0.00
                                                                                                                  TIP Account - ********4413                   142,698.98                     1,206.39                         0.00
                                                                                                        Checking - Non Interest - ********4426                          0.00                 54,637.19                         0.00
                                                                                                        Checking - Non Interest - ********6498                 300,010.00                  300,010.00                          0.00
                                                                                                                                                     ------------------------    ------------------------   ------------------------
                                                                                                                                                               442,708.98                  442,708.98                          0.00
                                                                                                                                                     ==============             ==============              ==============
                                                                                                                                                      (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                 Transfers)               To Debtors)                    On Hand




                                                                                                                                 Page Subtotals                        0.00                    3,642.87
                                                                                                                                                                                                                        Ver: 17.01
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 69)
                                          Case 09-22502             Doc 532     Filed 03/22/13 Entered 03/22/13 10:16:54                       Desc Main
                                                                                Document FORM Page
                                                                                                2 70 of 70                                                                               Page:     25
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit 9
  Case No:             09-22502 -HJB                                                                                  Trustee Name:                    JOSEPH BRAUNSTEIN
  Case Name:           THE SKI MARKET LTD., INC.                                                                      Bank Name:                       BANK OF AMERICA
                                                                                                                      Account Number / CD #:           *******6498 Checking - Non Interest
  Taxpayer ID No:    *******6604
  For Period Ending: 12/31/12                                                                                         Blanket Bond (per case limit):   $ 35,750,000.00
                                                                                                                      Separate Bond (if applicable):


          1               2                             3                                            4                                            5                       6                    7
    Transaction       Check or                                                                                               Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)




                                                                                                                      Page Subtotals                        0.00                  0.00
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LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 70)
